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                             Exhibit A

                     Deyoe Deposition Transcript




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 1               IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
 2                         VICTORIA DIVISION
 3                                     :
      In re:                           :   CHAPTER 11 (SUBCHAPTER V)
 4                                     :
      PORT ARTHUR STEAM                :   CASE NO. 21-60034
 5    ENERGY, LP                       :
                                       :
 6               Debtor.               :
 7        ************************************************
 8                      RULE 2004 EXAMINATION OF
                       CORPORATE REPRESENTATIVE OF
 9                     PORT ARTHUR STEAM ENERGY, LP
10                              RAYMOND DEYOE
11                              JUNE 16, 2021
12        ************************************************
13                     THE RULE 2004 EXAMINATION OF RAYMOND
14   DEYOE, produced as a witness at the instance of the
15   Creditor, Oxbow Calcining LLC, and duly sworn, was
16   taken in the above-styled and numbered cause on the
17   16th day of June, 2021, from 9:02 a.m. to 11:17 a.m.,
18   before Andrea L. Desormeaux, CSR in and for the State
19   of Texas, reported by machine shorthand, at the offices
20   of Baker Botts, 910 Louisiana Street, Houston, Texas,
21   pursuant to the Federal Rules of Bankruptcy Procedure
22   and the provisions stated on the record or attached
23   hereto.
24

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                                                                           2


 1                         A P P E A R A N C E S
 2
 3   FOR THE CREDITOR OXBOW CALCINING, LLC:
 4        Mr. Kevin T. Jacobs
          Mr. Michael S. Goldberg
 5        Mr. David R. Eastlake
          Baker Botts, LLP
 6        3000 One Shell Plaza
          910 Louisiana Street
 7        Houston, Texas 77002-4995
          Phone: (713) 229-1947
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10
     FOR THE DEBTOR PORT ARTHUR STEAM ENERGY, LP:
11
          Mr. Johnie J. Patterson, II
12        Walker and Patterson, PC
          4815 Dacoma Street
13        Houston, Texas 77092
          Phone: (713) 956-5577
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            1                               RAYMOND DEYOE,
            2   having been first duly sworn, testified as follows:
            3                                EXAMINATION
09:02:30    4   BY MR. JACOBS:
09:02:30    5        Q.     Would you tell us your full name, please.
09:02:36    6        A.     Raymond Deyoe.
09:02:37    7        Q.     Mr. Deyoe, who are you employed by?
09:02:39    8        A.     I'm employed by Integral Power.
09:02:41    9        Q.     And how long have you been employed by
09:02:44   10   Integral Power?
09:02:47   11        A.     Since 2002.
09:02:50   12        Q.     What's your title there, sir?
09:02:51   13        A.     Managing director.
09:02:53   14        Q.     How long have you had that title, sir?
09:02:55   15        A.     Since the beginning, since -- since that time.
09:02:57   16        Q.     Okay.     Obviously you and I have spoken across
09:03:01   17   the table like this a few times.            I'm going to ask you:
09:03:05   18   Since the last time I think I deposed you which was in
09:03:08   19   September of 2019, have you taken on any other
09:03:11   20   employment than with Integral Power?              Do you have any
09:03:15   21   other jobs?
09:03:16   22        A.     None that pay me money.
09:03:17   23        Q.     Do you have any that don't pay you money?
09:03:20   24        A.     I'm working on trying to start a business with

09:03:25   25   another group of individuals.

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09:03:27    1        Q.     Okay.     What kind of business is that?
09:03:32    2        A.     It's a development -- development and asset
09:03:35    3   management company that's in the oil and gas and power
09:03:41    4   industry.
09:03:43    5        Q.     How long have you been working on that
09:03:45    6   project?
09:03:45    7        A.     For about the last year.
09:03:51    8        Q.     Is that through a separate company than
09:03:54    9   Integral Power?
09:03:57   10                     MR. PATTERSON:       I'm going to object.
09:03:58   11   We're beyond 2004.         He's not here -- his employment has
09:04:02   12   nothing to do with anything other than how it relates
09:04:03   13   to debtor, so let's move on out of there.
09:04:03   14                     MR. JACOBS:      I'm trying to get the
09:04:04   15   background of the witness.
09:04:05   16                     MR. PATTERSON:       That's not background.
09:04:07   17   That's future and current.           So we've got background.
09:04:10   18   Let's get to the debtor.          We're not going to talk about
09:04:13   19   his employment or what he's doing going forward or if
09:04:15   20   he has plans after he leaves the debtor.                It's none of
09:04:18   21   your business and it's not part of today.
09:04:20   22        Q.     (By Mr. Jacobs)       Who are the other two
09:04:27   23   witnesses that are going to be testifying today,
09:04:28   24   Mr. Deyoe?

09:04:29   25        A.     Ted Boriack and Nate Belden.

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09:04:40    1                     (Exhibit No. 1 marked.)
09:04:35    2        Q.     I'm going to hand you what's been marked as
09:04:39    3   Exhibit No. 1.        And I would ask that you turn to page
09:04:47    4   13, sir.
09:04:52    5                     Exhibit No. 1 is the Notice of Rule 2004
09:04:55    6   Examination of Port Arthur Steam Energy, LP's Corporate
09:05:00    7   Representative and Subpoena Duces Tecum.                And page 13
09:05:04    8   is the beginning of Exhibit B, which is the Matters for
09:05:08    9   Examination.      Do you see that, sir?
09:05:10   10        A.     I do.
09:05:10   11        Q.     You've seen this before?
09:05:17   12        A.     I have.
09:05:17   13        Q.     Would you identify for me by number of topics,
09:05:22   14   the topics that you are going to be testifying about?
09:05:29   15        A.     Topic No. 1, Topic No. 10, Topic No. 13.                  And
09:05:59   16   there's one other one and I'm trying to figure whatever
09:06:04   17   which one it was.
09:06:18   18                     MR. PATTERSON:       Well, I can tell you we
09:06:19   19   noticed you guys that he would talk about 12, but I'll
09:06:22   20   let him answer what he's prepared for.
09:06:26   21                     THE WITNESS:       Yeah, that's right.        It was
09:06:27   22   12, that's right.
09:06:28   23        A.     It was 1, 10, 12, 13.
09:06:33   24        Q.     (By Mr. Jacobs)       What about Topic 15; will you

09:06:35   25   be answering any questions on Topic 15?

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09:06:38    1         A.    Fifteen?
09:06:45    2                      MR. PATTERSON:      And as I told David, as
09:06:47    3   they relate to the topics to testify on, you can't --
09:06:51    4   since 15 and 16 are just catchall, broad categories,
09:06:56    5   they're broken up the same way that the topics are, and
09:06:59    6   the witnesses are prepared that way.
09:07:02    7         Q.    (By Mr. Jacobs)       Do you understand that you're
09:07:03    8   here to testify, at least in part, about Topics 15 and
09:07:06    9   16?
09:07:13   10         A.    I'm here to testify about the things that I
09:07:16   11   know something about, which are the numbers that I
09:07:19   12   spoke about above.        To the extent that Items No. 15 or
09:07:22   13   16, those portions of those numbers that would have
09:07:25   14   something to do with the topics that I came here to
09:07:27   15   cover, then, yes.        But beyond the scope of those, no.
09:07:32   16         Q.    Let's look at Topic No. 1.          Topic No. 1 reads:
09:07:39   17   "All matters concerning or related to any information
09:07:42   18   relied upon, presented or required to be presented in
09:07:46   19   PASE's schedule A/B as filed in the bankruptcy case."
09:07:51   20   Do you see that?
09:07:51   21         A.    Yes.
09:07:51   22         Q.    What did you do to prepare yourself to testify
09:07:54   23   on that topic?
09:07:55   24         A.    I reviewed Schedule A and B that was filed,

09:08:00   25   and I reviewed the various items that -- that were

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09:08:06    1   discovery items that I supplied as part of our -- our
09:08:11    2   fulfilling our discovery request to you, that were a
09:08:17    3   part of those -- that had something to do with
09:08:19    4   Schedules A and B.
09:08:20    5        Q.     When you mean "discovery items," what do you
09:08:24    6   mean, sir?
09:08:24    7        A.     There were various items that were requested
09:08:27    8   in discovery -- I don't have that in front of me right
09:08:30    9   now -- but that were items that were essentially, you
09:08:35   10   know, backup, if you will, of how values were arrived
09:08:38   11   and schedules and such like that.
09:08:40   12        Q.     What documents do you recall pulling as it
09:08:43   13   related to responding to the discovery items that you
09:08:47   14   just referenced?
09:08:48   15        A.     I recall a spreadsheet that had been put
09:08:54   16   together where we -- where we itemized certain assets
09:09:00   17   in the plant and worked to try to estimate values of
09:09:04   18   those assets and come up with methods that were used
09:09:11   19   for valuing those assets.          Drawings that were used and
09:09:16   20   equipment lists, things of that nature, that were used
09:09:23   21   to determine what all equipment is in the plants and
09:09:25   22   what those values were.
09:09:26   23        Q.     Anything else, sir?
09:09:29   24        A.     Honestly, I would have to go back and look.               I

09:09:44   25   don't recall off the top of my head.

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09:09:45    1         Q.    Let's go to Topic No. 10.           Topic No. 10 reads:
09:09:53    2   "All matters concerning or related to PASE's escrow
09:09:58    3   obligation under the HEA, as described in Schedule E/F
09:10:01    4   file in the bankruptcy case."            Do you see that?
09:10:05    5         A.    Yes.
09:10:06    6         Q.    What did you do to prepare yourself on that
09:10:08    7   topic, sir?
09:10:09    8         A.    I didn't do anything to prepare because I --
09:10:12    9   that's just something that I inherently understand, so
09:10:18   10   there was really nothing to prepare for there.
09:10:20   11         Q.    So your testimony on that is based on your
09:10:23   12   personal knowledge?
09:10:24   13         A.    That's right.
09:10:25   14         Q.    With respect to Topic No. 1, going back there,
09:10:32   15   did you have conversations with anyone to prepare
09:10:34   16   yourself for your testimony on Topic No. 1?
09:10:36   17         A.    I did.     I did.
09:10:38   18         Q.    Who?
09:10:38   19         A.    With our entire team, with our attorneys,
09:10:46   20   Johnie -- Mr. Patterson here -- as well as, you know,
09:10:52   21   Nate Belden and Ted Boriack.
09:10:57   22         Q.    Did you have conversations with anyone else?
09:10:59   23         A.    No.    I mean, no.      Loyd Neal was involved as
09:11:07   24   well.

09:11:07   25         Q.    Who is Mr. Neal?

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09:11:08    1         A.    He is our long-time attorney that you-all know
09:11:11    2   well because he's been involved with our case against
09:11:14    3   you for many years now.
09:11:16    4         Q.    Was this a single conversation that you had
09:11:27    5   with respect to Topic No. 1 or was it multiple
09:11:30    6   conversations?
09:11:30    7         A.    Multiple conversations.
09:11:32    8         Q.    Okay.     When was the first one?
09:11:33    9         A.    I don't -- I don't recall.           This is something
09:11:39   10   that -- since we -- since I began working to put
09:11:44   11   together your discovery request, to fulfill your
09:11:49   12   discovery request, I had had conversations with, you
09:11:55   13   know, Ted Boriack at that time because we -- trying to
09:11:57   14   recall what all was used to come up with these numbers
09:12:00   15   and identifying where those lists of equipment and
09:12:03   16   things were and all of that.            Those were all things
09:12:06   17   that were certainly conversations because -- because
09:12:09   18   Mr. Boriack is another asset manager at PASE.                 And so
09:12:14   19   since the earliest days of the plant, we've worked
09:12:17   20   together on all of that, on all of those equipment
09:12:20   21   items.     But with regards to preparing for this today,
09:12:24   22   we had a couple of different team sessions, if you
09:12:28   23   will, that I can recall.
09:12:31   24         Q.    What do you mean by "team sessions"?

09:12:34   25         A.    When we've discussed who was going to -- who

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09:12:37    1   would be best to address each topic that was going to
09:12:41    2   be discussed today and who had the most knowledge to be
09:12:44    3   able to answer your questions.
09:12:47    4         Q.    And those were conversations with Mr. Boriack
09:13:01    5   and Mr. Belden and Mr. Patterson's firm and Mr. Neal?
09:13:07    6         A.    Yes.    Mr. Neal only once.         We've -- all of our
09:13:11    7   work in bankruptcy has been with Mr. Patterson.                  And he
09:13:15    8   was the one that prepared the schedules, with
09:13:18    9   information from us.         So, certainly he's been involved
09:13:22   10   in everything.
09:13:28   11         Q.    Did you have any conversations with anyone to
09:13:31   12   prepare yourself for Topic No. 10?
09:13:47   13         A.    The only conversation I recall having to --
09:13:58   14   with regards to No. 10 was with Mr. Neal.
09:14:03   15         Q.    When was that conversation?
09:14:04   16         A.    I don't recall.       In the last -- within the
09:14:08   17   last week.
09:14:09   18         Q.    What did you do to prepare yourself for Topic
09:14:25   19   No. 12?
09:14:40   20         A.    Other than reading through the Statement of
09:14:42   21   Financial Affairs to become familiar with what is in
09:14:44   22   there, really nothing.          I mean, this is -- No. 12 is
09:14:49   23   something that I've lived as an asset manager of PASE,
09:14:52   24   so there's nothing really to do to prepare for it.

09:14:57   25         Q.    Did you review any other documents other than

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09:15:00    1   the schedules that were in the petition?
09:15:10    2         A.    Not with regard to No. 12 other than just a
09:15:13    3   general review of documents that we uploaded as part of
09:15:15    4   our discovery -- fulfilling our discovery request to
09:15:19    5   you; so, no.
09:15:20    6         Q.    When you say "a general review of documents,"
09:15:24    7   what documents are you referencing?
09:15:25    8         A.    All of the documents that we submitted to you
09:15:27    9   from your discovery request.
09:15:29   10         Q.    And your testimony is you reviewed every
09:15:32   11   single one of them?
09:15:33   12         A.    No.    My testimony is a general seeing what
09:15:40   13   documents are in there.          And I'm familiar with the ones
09:15:43   14   that I uploaded.        But I don't -- I couldn't tell you,
09:15:46   15   sitting here, which ones I uploaded and which ones
09:15:50   16   other members of the team uploaded.
09:15:51   17         Q.    What categories -- do you know the categories
09:15:55   18   of documents that you uploaded as opposed to someone
09:15:59   19   else?
09:15:59   20         A.    Yes.    I uploaded things that were associated
09:16:02   21   with the values that went into the schedules that you
09:16:04   22   will find in A and B, which is why I'm addressing that
09:16:07   23   topic today.
09:16:08   24                      Mr. Boriack uploaded things that were

09:16:11   25   related to our financial affairs, which would have

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09:16:14    1   been, you know, bank statements and, you know, general
09:16:19    2   ledgers, those -- that part of the business came from
09:16:26    3   Mr. Boriack.       And there were certain items that
09:16:30    4   Mr. Belden was responsible for, and I don't recall
09:16:32    5   which ones of those they were.            And then there was
09:16:36    6   items, for instance, with regards to our personal --
09:16:38    7   there was personal property leases that we were
09:16:41    8   supposed to speak to.          I uploaded those -- those items
09:16:48    9   as well.      You know, storeroom, things like that.
09:16:51   10         Q.    By "storerooms," you mean storage facilities?
09:16:53   11         A.    Storage facilities, right, where we have
09:16:56   12   certain equipment stored.           I'd have to look at the
09:17:01   13   list, beyond that.
09:17:02   14         Q.    Did you have conversations with anyone,
09:17:05   15   regarding Topic No. 12, to prepare yourself?
09:17:17   16         A.    No, not other than my attorney, Mr. Patterson.
09:17:19   17         Q.    Okay.     Topic No. 13; what did you do to
09:17:23   18   prepare yourself for Topic No. 13?
09:17:26   19         A.    Nothing.     I know those answers -- I mean, I
09:17:30   20   lived them, so there was nothing to prepare for.
09:17:32   21         Q.    Did you have conversations with anyone to
09:17:37   22   prepare yourself for Topic No. 13?
09:17:40   23         A.    Only my attorney, Mr. Patterson.
09:17:41   24         Q.    Did you review any documents?

09:17:44   25         A.    Only what's in the -- in our filings, our

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09:17:49    1   bankruptcy filings, with regards to that topic.
09:17:52    2         Q.    And does that relate to the sale of certain
09:17:57    3   chemicals and equipment in March and April?
09:18:01    4         A.    No chemicals but certainly equipment items,
09:18:05    5   yes, to verify that what was in those -- was in that
09:18:07    6   bankruptcy paperwork actually matches reality.                 And it
09:18:11    7   does, so...
09:18:12    8                      (Exhibit No. 3 marked.)
09:18:12    9         Q.    (By Mr. Jacobs)       Okay.     I'm going to hand you
09:18:19   10   Exhibit No. 3, sir.
09:18:39   11         A.    Okay.
09:18:39   12         Q.    Would you identify Exhibit No. 3, please?
09:18:48   13         A.    Exhibit No. 3 is Official Form 201, Voluntary
09:18:57   14   Petition for Non-individuals Filing for Bankruptcy for
09:19:01   15   our case, Case 21-60034.
09:19:05   16         Q.    Okay.     And debtor is Port Arthur Steam Energy,
09:19:12   17   LP, correct?
09:19:12   18         A.    Yes.
09:19:13   19         Q.    And it was filed on April 14, 2021?
09:19:20   20         A.    That sounds correct.          I would have to look to
09:19:25   21   make sure.      I don't know that date off the top of my
09:19:27   22   head.
09:19:27   23         Q.    Well, if you read at the top, it states that
09:19:31   24   it was filed on April 14th.

09:19:33   25         A.    Yes, you're right.        Correct.

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09:19:34    1         Q.    And if you go to the last page.            Are you with
09:19:41    2   me, sir?
09:19:42    3         A.    Yes.
09:19:45    4         Q.    You'll note -- would you agree that it was
09:19:48    5   signed and executed by Mr. Belden on April 14, 2021,
09:19:55    6   correct?
09:19:55    7         A.    Yes.
09:19:56    8         Q.    Let's talk first about the debtor.             PASE is a
09:20:08    9   limited partnership, correct?
09:20:11   10         A.    That's correct.
09:20:11   11         Q.    Who are its partners?
09:20:18   12         A.    That's above my pay grade, honestly.              I'm a
09:20:19   13   limited partner.        There are -- there are partners up
09:20:22   14   the chain, but I am not well versed enough in that
09:20:27   15   partnership, in who the partners are, to address it.
09:20:33   16         Q.    You've seen PASE's financial statements that
09:20:38   17   have been prepared over the years, correct?
09:20:40   18         A.    From time to time, yes.          Although, that is not
09:20:42   19   something that I am familiar with.
09:21:04   20                      (Exhibit No. 53 marked.)
09:20:44   21         Q.    (By Mr. Jacobs)       I'm going to hand you Exhibit
09:21:03   22   No. 53.     Exhibit No. 53 are the PASE Financial
09:21:16   23   Statements For the Years Ended December 31, 2018, and
09:21:28   24   2017.      Do you see that?

09:21:30   25         A.    Yes.

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09:21:32    1         Q.    And these were prepared by PASE's independent
09:21:35    2   auditors, Briggs & Veselka.           Do you see that?
09:21:39    3         A.    I see it.
09:21:40    4         Q.    Okay.     It's dated March 19, 2019?
09:21:47    5         A.    That is the date of their letter, yes.
09:21:52    6         Q.    Okay.     I'd like to draw your attention to page
09:21:54    7   No. 7, Mr. Deyoe.        Do you see the first paragraph in
09:22:04    8   the audited financial statements of PASE, here in
09:22:09    9   Exhibit 53?
09:22:09   10         A.    I see it.
09:22:10   11         Q.    And you'll see that that paragraph has a
09:22:12   12   description of PASE as a legal entity.               Do you see
09:22:19   13   that?
09:22:19   14                      MR. PATTERSON:       I'm going to object.
09:22:20   15   That's hearsay.
09:22:24   16         A.    I see it.
09:22:27   17         Q.    (By Mr. Jacobs)       Do you see it?        It states
09:22:29   18   that PASE was formed in November 24, 2004.                Do you see
09:22:39   19   that?
09:22:40   20                      MR. PATTERSON:       I'm going to object.
09:22:41   21   You're reading from a document, which is hearsay.                  So
09:22:46   22   you can ask a question.
09:22:47   23         Q.    (By Mr. Jacobs)       Is that true?
09:22:48   24         A.    What was the question?

09:22:48   25         Q.    Is it true that PASE was formed in November of

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09:22:51    1   2004?
09:22:51    2         A.    Yes.
09:22:51    3         Q.    And that the general partner of PASE is an
09:23:04    4   entity called AIP PASE, LLC; is that true?
09:23:08    5         A.    I don't know.       I mean, I can read from this
09:23:10    6   document if you'd like.          But honestly, I do not
09:23:13    7   understand the partnership structure for PASE.                 That
09:23:18    8   has never been something that I've dealt with.
09:23:20    9         Q.    Well, isn't it true that Integral Power is a
09:23:25   10   limited partner of PASE?
09:23:26   11         A.    We are a limited partner, yes.
09:23:29   12         Q.    And that there is also a general partner of
09:23:32   13   PASE, correct?
09:23:32   14         A.    There is a general partner.
09:23:34   15         Q.    And that's one of the AIP entities, correct?
09:23:37   16         A.    Honestly, I do not know the general partner
09:23:40   17   structure of the company.
09:23:41   18         Q.    PASE has -- PASE -- let me strike that.
09:23:44   19                      Integral Power, the entity that you --
09:23:49   20   that's an entity that you and Mr. Boriack are the
09:23:53   21   principals of, correct?
09:23:54   22         A.    Correct.
09:23:54   23         Q.    Integral Power is a 10-percent limited partner
09:23:59   24   of PASE?

09:24:00   25         A.    That is correct.

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09:24:01    1         Q.    And the other 90 percent is from the AIP
09:24:08    2   entities, correct?
09:24:09    3         A.    Other entities.       Whether they're AIP entities,
09:24:12    4   I do not know.
09:24:20    5         Q.    So I want to make sure I understand.              Your
09:24:21    6   testimony is that you've been a limited partner of
09:24:25    7   PASE, through Integral Power, since 2004, right?
09:24:28    8         A.    Correct.
09:24:29    9         Q.    For 17 years, right?
09:24:30   10         A.    Correct.
09:24:31   11         Q.    And in those 17 years, you don't know who the
09:24:36   12   general partner is of PASE?
09:24:38   13                      MR. PATTERSON:       Objection; asked and
09:24:39   14   answered.      It's argumentative.
09:24:41   15         Q.    (By Mr. Jacobs)       Is that true?
09:24:42   16         A.    The general partner structure is very
09:24:44   17   complicated.       It is not something that I am familiar
09:24:46   18   with from a legal perspective, so I am not going to
09:24:49   19   comment on that.
09:24:50   20         Q.    Having been associated with PASE for 17 years
09:25:13   21   now, what is your understanding of the general partner
09:25:18   22   structure?
09:25:19   23                      MR. PATTERSON:       Objection; asked and
09:25:20   24   answered and argumentative.

09:25:22   25         A.    My understanding is that there is a

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09:25:26    1   90-percent -- there's 90 percent of the company that is
09:25:31    2   beyond Integral Power, beyond my -- our limited
09:25:36    3   partner.      And the rest of it I do not understand and
09:25:38    4   I'm not going to comment on.
09:25:40    5         Q.    (By Mr. Jacobs)       Just so the record is clear,
09:25:57    6   Integral Power has been and remains a 10-percent
09:26:00    7   limited partner of PASE, right?
09:26:02    8                      MR. PATTERSON:       Objection; asked and
09:26:04    9   answered three times, and now it's argumentative.
09:26:07   10         A.    Yes.
09:26:07   11         Q.    (By Mr. Jacobs)       If you'll turn back to
09:26:15   12   Exhibit No. 3, please.          I'm done with Exhibit 53 for
09:26:19   13   now.
09:26:27   14                      It lists PASE's principal place of
09:26:33   15   business as 22819 Timberlake Creek Road in Tomball,
09:26:38   16   Texas, in Harris County.          Do you see that?
09:26:39   17         A.    I do.
09:26:39   18         Q.    Whose address is that?
09:26:40   19         A.    That is my address.
09:26:41   20         Q.    How long has PASE's principal place of
09:26:56   21   business been your address?
09:26:59   22         A.    We changed it some number of months ago.               I
09:27:02   23   don't recall when.         We had it -- we had a different
09:27:07   24   address until...

09:27:10   25         Q.    What was the address --

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09:27:13    1         A.    I don't recall.
09:27:13    2         Q.    Excuse me.      What was the address before you
09:27:15    3   changed it to your residence?
09:27:18    4         A.    We used an address in -- we used Mr. Boriack's
09:27:22    5   address for some time in Magnolia.              I don't recall his
09:27:26    6   address off the top of my head.             But he no longer lives
09:27:31    7   there, so we changed it to my address so we could
09:27:34    8   receive mail, and such, there so we don't miss mail and
09:27:38    9   things.
09:27:40   10         Q.    Then it lists a mailing address in Port
09:27:43   11   Arthur, correct?
09:27:44   12         A.    That is correct.
09:27:45   13         Q.    And the location of principal assets in Port
09:27:50   14   Arthur, correct?
09:27:51   15         A.    Yes.
09:27:51   16         Q.    Port Arthur is in Jefferson County, correct?
09:27:54   17         A.    Port Arthur is in Jefferson County.
09:28:05   18         Q.    Has PASE ever had its principal place of
09:28:09   19   business in Calhoun County?
09:28:11   20         A.    No.
09:28:12   21         Q.    Or Dewitt County?
09:28:13   22         A.    No.
09:28:15   23         Q.    Or Goliad County?
09:28:18   24         A.    No.

09:28:19   25         Q.    Jackson County?

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09:28:21    1         A.    No.
09:28:21    2         Q.    Lavaca County?
09:28:23    3         A.    No.
09:28:23    4         Q.    Refugio County?
09:28:26    5         A.    No.
09:28:26    6         Q.    Or Victoria County?
09:28:30    7         A.    No.
09:28:30    8         Q.    In fact, PASE doesn't have any assets in any
09:28:39    9   of those counties I just listed, correct?
09:28:41   10         A.    Correct.
09:28:42   11         Q.    And it never has, correct?
09:28:44   12         A.    Correct.
09:28:46   13         Q.    Go to page 3, please, of Exhibit 3.
09:29:16   14                      There's a Question No. 10 on page 3 of
09:29:19   15   Exhibit 3 that asks:         "Does the debtor own or have
09:29:22   16   possession of any real property or personal property
09:29:24   17   that needs immediate attention?"             Do you see that?
09:29:27   18         A.    Where are you?
09:29:28   19         Q.    Yes.     You'll see on the left-hand column of
09:29:31   20   page 3 there are some numbered questions.                Do you see
09:29:34   21   that?
09:29:34   22         A.    Yes.     And you're on No. 10?
09:29:36   23         Q.    Number 12.
09:29:36   24         A.    Oh.    Continue.

09:29:38   25         Q.    Okay.     Let's start over.

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09:29:40    1                      Question No. 12 asks:         "Does the debtor
09:29:44    2   own or have possession of any real property or personal
09:29:48    3   property that needs immediate attention?"                Do you see
09:29:51    4   that?
09:29:51    5         A.    Yes.
09:29:51    6         Q.    And there was an answer of no, correct?
09:29:53    7         A.    Correct.
09:29:54    8         Q.    What was done by PASE, before filing this
09:29:59    9   bankruptcy petition, to investigate that question?
09:30:05   10         A.    I guess I don't understand your question.
09:30:24   11   When you -- to investigate the question?                What does
09:30:26   12   that -- what does that even mean?
09:30:28   13         Q.    Well, to investigate the topic.             Topic No. 12
09:30:30   14   is asking whether or not there is -- whether the
09:30:33   15   debtor, meaning PASE, owns or has possession of real
09:30:38   16   property or personal property that needs immediate
09:30:41   17   attention.      Do you see that question?
09:30:42   18         A.    I see the question.
09:30:43   19         Q.    Okay.     What was done by PASE in order to be
09:30:47   20   able to answer this question?
09:30:49   21         A.    Well, we lived the plant every day.              I
09:30:56   22   don't -- we didn't do anything specific to investigate
09:31:00   23   this question.
09:31:03   24         Q.    You say "we lived the plant every day."               Who

09:31:07   25   do you mean by "we"?

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09:31:09    1         A.    Well, when I say "we," Mr. Boriack and I,
09:31:14    2   we're still the managers of the plant, by contract; and
09:31:17    3   we have a -- we have an on-site employee at the plant
09:31:21    4   as well.
09:31:21    5         Q.    When is the last time you were at the plant?
09:31:25    6         A.    It's been a couple of weeks ago for me.
09:31:27    7         Q.    Okay.
09:31:28    8         A.    Mr. Boriack was just there on -- this weekend.
09:31:32    9         Q.    As of the filing on April 14th, 2021, you wake
09:31:39   10   up that morning, when was the previous time to April
09:31:43   11   14, 2021, that you had been at the plant?
09:31:45   12         A.    I would have to look at my -- I'd have to look
09:31:48   13   at my calendar.        I can't answer that question without
09:31:51   14   looking at my calendar.
09:31:52   15         Q.    What about Mr. Boriack?
09:31:56   16         A.    It would have been -- for me, it would have
09:32:00   17   been in -- it would have been in late March or early
09:32:04   18   April because that's when we were in the process of
09:32:06   19   selling certain assets that you know about because
09:32:08   20   they're on the filing, and having those removed.
09:32:12   21         Q.    Let's go to the next page.           Do you see
09:32:26   22   Question 13?
09:32:27   23         A.    Yes.
09:32:28   24         Q.    The question of "Debtor's estimation of

09:32:31   25   available funds."        Do you see that?

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09:32:33    1         A.    I do.
09:32:34    2         Q.    And it states that there will be funds
09:32:36    3   available for distribution to unsecured creditors?
09:32:41    4         A.    Yes.
09:32:41    5         Q.    What's the basis for that answer?
09:32:43    6         A.    I would say I don't know.
09:33:03    7         Q.    Next question:       Estimated number of creditors.
09:33:08    8   Do you see that?
09:33:08    9         A.    I do.
09:33:09   10         Q.    1 through 49 -- do you see that? -- is the box
09:33:13   11   that's been checked.
09:33:14   12         A.    Yes.
09:33:15   13         Q.    What's the basis for that answer?
09:33:16   14         A.    We have less than 50 creditors.
09:33:20   15         Q.    How many creditors -- the best number you can
09:33:25   16   give me -- does PASE have?
09:33:32   17         A.    Three or four.
09:33:34   18         Q.    Who are they?
09:33:34   19         A.    I don't recall off the top of my head.
09:33:37   20         Q.    Is Integral Power a creditor?
09:33:49   21         A.    Are we a creditor?        No.
09:33:53   22         Q.    There is an estimate of assets in between 10-
09:33:57   23   and $50 million.        Do you see that?
09:33:59   24         A.    I do.

09:34:00   25         Q.    What's the basis of that estimate?

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09:34:05    1         A.    The basis of that is the cash we have in the
09:34:09    2   bank, plus assets that we believe have value within --
09:34:16    3   within the plant, plus the value of the moneys that are
09:34:20    4   owed to us by Oxbow from prior litigation and pending
09:34:27    5   litigation, plus the $163,000 I think we still have on
09:34:32    6   the books as a payable that Oxbow owes us for having
09:34:36    7   stolen power from us for three months.               All of those
09:34:41    8   things added together are in that range.
09:34:44    9         Q.    Okay.     To make sure I understand, it's the
09:34:47   10   cash -- and we'll probably see this on the schedules.
09:34:52   11   Just so we're clear, that's the money in the Bank of
09:34:56   12   America account?
09:34:56   13         A.    Correct.
09:34:57   14         Q.    We'll go through your accounts in more detail.
09:35:00   15                      Value at the plant, you're talking about
09:35:02   16   equipment and machinery, things of that nature?
09:35:06   17         A.    Yes.
09:35:06   18         Q.    We'll go through that in detail.             I think
09:35:09   19   that's in your items.
09:35:10   20                      Moneys from an old -- from a judgment
09:35:13   21   from Oxbow, you're referring to the 2005 judgment?
09:35:16   22         A.    I'm referring to the --
09:35:18   23         Q.    2015 judgment, excuse me.
09:35:22   24         A.    Correct, the 2015 judgment.

09:35:24   25         Q.    The first arbitration.

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09:35:25    1         A.    I'm referring to that as part of it.
09:35:27    2         Q.    I know.
09:35:27    3         A.    There are other moneys that --
09:35:27    4         Q.    We'll get to that.
09:35:30    5         A.    From pending litigation.
09:35:32    6                      MR. PATTERSON:       Object.     It's
09:35:33    7   argumentative.
09:35:34    8                      You realize 13 through 16 is just
09:35:36    9   statistical information summarized and accumulated from
09:35:40   10   the schedules.
09:35:41   11                      MR. JACOBS:      I understand that.
09:35:41   12                      MR. PATTERSON:       Okay.    So we're spending
09:35:42   13   a bunch of time on government numbers that are a
09:35:45   14   summary of detail we have.
09:35:46   15                      MR. JACOBS:      I understand.      We're going
09:35:47   16   to get to the detail.
09:35:48   17                      MR. PATTERSON:       Okay.    This is a waste of
09:35:51   18   time.
09:35:51   19                      MR. JACOBS:      Well, I appreciate that.
09:35:52   20   Thank you very much for your opinion.
09:35:54   21         Q.    (By Mr. Jacobs)       So you've got the 2015
09:36:00   22   judgment, right?
09:36:02   23         A.    Correct.
09:36:03   24                      MR. PATTERSON:       I'm going to object to

09:36:07   25   relevance.      And it literally is a waste of time because

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09:36:10    1   these numbers are automatically pulled from what you
09:36:13    2   have.     And so testing him on his memory is a waste of
09:36:17    3   everyone's time when we have the data right here, if
09:36:22    4   you're truly interested in the information.
09:36:24    5                      MR. JACOBS:      I'm very interested in the
09:36:27    6   information.       And I would love to get there.
09:36:28    7                      MR. PATTERSON:       Okay.    It's
09:36:29    8   argumentative, then.         So let's get to the data.
09:36:31    9                      MR. JACOBS:      You know what's
09:36:33   10   argumentative is the debate we're having right now.
09:36:36   11   Like, I'd be done with this if --
09:36:36   12                      MR. PATTERSON:       No, you wouldn't.        You've
09:36:37   13   been doing it for 10 minutes talking about statistical
09:36:39   14   information that's not even reported to anyone other
09:36:41   15   than the U.S. Trustee system.            So let's move to the
09:36:46   16   data if that's what you want to know.
09:36:48   17                      MR. JACOBS:      Can I proceed or are we just
09:36:50   18   going to keep arguing?
09:36:51   19                      MR. PATTERSON:       We can argue if you want.
09:36:53   20   Or you can ask a legitimate question.
09:36:57   21                      MR. JACOBS:      Why don't you make your
09:37:00   22   objection?
09:37:00   23                      MR. PATTERSON:       I did.
09:37:00   24                      MR. JACOBS:      And then --

09:37:01   25                      MR. PATTERSON:       I did.    You're still

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09:37:02    1   talking, not me.
09:37:02    2                      MR. JACOBS:      Are you instructing him not
09:37:03    3   to answer?
09:37:05    4                      MR. PATTERSON:       Have you heard me say
09:37:06    5   that?
09:37:07    6                      MR. JACOBS:      Good.    Then stop talking,
09:37:08    7   please.
09:37:09    8                      MR. PATTERSON:       Good.    I can object.
09:37:09    9                      MR. JACOBS:      And you have.
09:37:10   10                      MR. PATTERSON:       I will object when I
09:37:11   11   want.
09:37:13   12         Q.    (By Mr. Jacobs)       And these schedules were
09:37:16   13   declared and signed by Mr. Belden, right?
09:37:20   14         A.    Correct.
09:37:20   15         Q.    How was it that Mr. Belden was authorized to
09:37:25   16   do this on behalf of PASE?           For example, was there a
09:37:30   17   resolution?      Was there some letter?          What was the --
09:37:34   18   what was the process to authorize Mr. Belden to file
09:37:37   19   this?
09:37:38   20         A.    I have no idea.       I do not know.       My
09:37:44   21   understanding is that Mr. Belden represents the general
09:37:47   22   partner, but I do not understand the legalities of the
09:37:51   23   general partnership.
09:37:51   24         Q.    Was there a partners meeting where it was

09:37:54   25   discussed whether to file for bankruptcy?

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09:37:56    1         A.    There were certainly discussions of filing for
09:38:09    2   bankruptcy.      But in terms of the decision to file
09:38:14    3   bankruptcy, that was squarely on -- on the general
09:38:18    4   partner.      We did not have input into that call.
09:38:21    5         Q.    By "we," you're meaning --
09:38:23    6         A.    By "we" I mean Integral Power.
09:38:26    7         Q.    "Integral Power," meaning you and Mr. Boriack?
09:38:32    8         A.    That's correct.
09:38:33    9         Q.    When did PASE retain Mr. Patterson and his law
09:38:42   10   firm?
09:38:43   11         A.    I don't recall without looking at my calendar.
09:38:50   12   I mean, I would be off by a month or two.
09:38:53   13         Q.    Okay.     There may be a document that will help
09:38:57   14   us with that.
09:38:57   15         A.    It's obviously some months ago, but I do not
09:39:00   16   recall.
09:39:00   17         Q.    To your knowledge, is there a retention
09:39:02   18   agreement with Mr. Patterson's firm?
09:39:04   19         A.    Yes.
09:39:04   20         Q.    Did you execute it or did someone else execute
09:39:07   21   it?
09:39:07   22         A.    I did not.      I don't know who did.         I did not.
09:39:10   23         Q.    Have you seen it?
09:39:11   24         A.    I don't recall seeing it.           I do not recall

09:39:15   25   seeing it.      It's not something I would have done.

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09:39:20    1         Q.    Let's turn to the next page which is the
09:39:26    2   Schedule A and B, which is your Topic No. 1, right?
09:39:28    3         A.    Yes.
09:39:33    4         Q.    Okay.     Part 1 asks about cash and cash
09:39:39    5   equivalents, and there is a -- Number 3.1 lists a Bank
09:39:44    6   of America checking account.            Do you see that?
09:39:45    7         A.    Yes.
09:39:46    8         Q.    With the last four digits of the account of
09:39:53    9   8417, correct?
09:39:54   10         A.    Yes.
09:39:54   11         Q.    I'm happy to show you records if that would be
09:40:00   12   helpful; but there have been other bank accounts that
09:40:04   13   PASE has had over the last two to three years, correct?
09:40:07   14         A.    I don't know about two or three years; but
09:40:10   15   over the course of our -- of the business, there have
09:40:12   16   been other bank accounts, yes.            In terms of when those
09:40:17   17   bank accounts were discontinued or consolidated into
09:40:20   18   this one, I don't recall what -- when that -- when that
09:40:24   19   happened.
09:40:24   20         Q.    For example, there's been something that's
09:40:29   21   been called a managers's account.             Are you familiar
09:40:33   22   with that?
09:40:33   23         A.    Yes.
09:40:34   24         Q.    Okay.     What was the purpose of the manager's

09:40:35   25   account?

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09:40:36    1         A.    Back in the -- back during -- when we were
09:40:40    2   operating, we had an operations account -- I don't
09:40:45    3   remember the exact name of it, but -- how it was
09:40:49    4   styled.     But we had an operations account and we had a
09:40:52    5   manager's account.         And we kept a certain amount of
09:40:54    6   money in the manager's account so that we didn't have
09:40:59    7   too much money sitting in an operations account where
09:41:01    8   other employees -- you know, day-to-day employees --
09:41:05    9   would have access to it.          So we kept a certain amount
09:41:10   10   of money in an operations account and a certain amount
09:41:13   11   of money in the manager's account that could be moved
09:41:16   12   in and out of operations to keep that account.                 To keep
09:41:19   13   it whole but not keep too much money there.
09:41:22   14                      And then we had an investment account, as
09:41:24   15   well, that I'm sure is one that you're...                But once
09:41:32   16   Oxbow shut the business down and killed us in the
09:41:35   17   summer of 2018, and our cash reserves have depleted
09:41:41   18   over time, it did not make sense to have all of these
09:41:44   19   accounts; so we consolidated to one account.
09:41:47   20         Q.    Was it consolidated into the manager's account
09:41:50   21   or was it consolidated into the O&M account?
09:41:54   22         A.    I do not recall which account this 8417 is.                I
09:41:59   23   do not recall which account that is.
09:42:01   24                      MR. JACOBS:      Would these be topics better

09:42:02   25   for Mr. Boriack?

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09:42:04    1                      MR. PATTERSON:       No, but I'm going to -- I
09:42:05    2   don't know if you guys were at the hearing but --
09:42:07    3   because we've already done this.
09:42:09    4                      That 8417 is the wrong number.            8417 was
09:42:12    5   closed because it's also listed on SOFA.               And 6147 is
09:42:16    6   the account that remains open, that I think everyone
09:42:19    7   refers to as the manager's account.              So, I don't want
09:42:25    8   that to be any confusion.
09:42:26    9                      THE WITNESS:      Is it 6147 or 6417?         I
09:42:31   10   could look on my phone and tell you because I have
09:42:33   11   those numbers somewhere on my phone.
09:42:35   12                      MR. PATTERSON:       I thought I just looked
09:42:36   13   it up.
09:42:37   14                      THE WITNESS:      But I do recall there was
09:42:38   15   a -- there was a digit wrong on this original document.
09:42:41   16                      MR. PATTERSON:       Yeah.    And I think
09:42:42   17   it's -- I'm almost certain it is 6147 instead of 8417.
09:42:46   18   8417 was closed.        It's also listed on SOFA.          And I'm
09:42:51   19   not -- I'm not trying to butt in.             But to the extent it
09:42:54   20   creates confusion, we've hashed this, we've already --
09:42:59   21   we've had some hearings with Bank of America and that's
09:43:02   22   when I figured out I had used the wrong number on the
09:43:06   23   schedule.      So, anyway...
09:43:08   24         Q.    (By Mr. Jacobs)       So if I ask you this

09:43:10   25   question:      Is it your understanding that the 8417

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09:43:13    1   figures here on the 3.1 of Schedule A and B is
09:43:22    2   incorrect?
09:43:22    3         A.    The value in that account, as of that date, as
09:43:27    4   of when this document was presented, is correct.                  The
09:43:30    5   8417, I would have to go back and look and see.                  I
09:43:33    6   think that number is incorrect.             I believe
09:43:36    7   Mr. Patterson is right in stepping in here because I do
09:43:39    8   recall that we had -- we had a lot of back and forth
09:43:41    9   with Bank of America to determine what the right number
09:43:46   10   was.    Unfortunately our two accounts had very, very
09:43:49   11   similar numbers, account numbers, and so there was some
09:43:52   12   confusion there and a wrong digit got put in there.                    We
09:43:56   13   will need to get that clarified.
09:43:58   14         Q.    Let's go to the next page, please.
09:44:04   15                      This section, Part 3 on Accounts
09:44:06   16   Receivable.      Do you see that?
09:44:08   17         A.    Yes.
09:44:09   18         Q.    Okay.     And item 11 there has an 11(a) that
09:44:13   19   asks about accounts receivable 90 days old or less.                    Do
09:44:16   20   you see that?
09:44:17   21         A.    Yes.
09:44:17   22         Q.    And it lists zero, right?
09:44:20   23         A.    Yes.
09:44:20   24         Q.    And that's because there was no ongoing

09:44:24   25   business in that time period, correct?

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09:44:26    1         A.    Yes.
09:44:26    2         Q.    And then the "over 90 days old" refers to the
09:44:40    3   163,333 amount.        Do you see that?
09:44:41    4         A.    I do.
09:44:41    5         Q.    And that was from early 2020?
09:44:47    6         A.    I don't recall a time period.            That was the
09:44:48    7   electricity that Oxbow stole from us, that Mr. Goldberg
09:44:54    8   promised that Oxbow was going to pay and they never
09:44:57    9   did, so it's been carried as accounts receivable on our
09:45:00   10   books.
09:45:00   11         Q.    And it's also been listed as doubtful or an
09:45:04   12   uncollectible amount, correct?
09:45:04   13         A.    Given the way we have to work with you and
09:45:09   14   Oxbow, that is why it's shown that way.               But, yes, that
09:45:12   15   is certainly something that is part of our ongoing
09:45:16   16   legal battle.
09:45:17   17         Q.    Who determined that it was doubtful or an
09:45:20   18   uncollectible account?
09:45:21   19         A.    I do not know.
09:45:22   20         Q.    What's the basis for it being doubtful or
09:45:25   21   uncollectible?
09:45:26   22         A.    I don't know.       It wasn't me, so I don't know.
09:45:27   23   I can't answer that question.
09:45:28   24         Q.    What did you do to investigate the doubtful or

09:45:34   25   uncollectible nature of that amount in preparation for

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09:45:37    1   today?
09:45:37    2         A.    I just stated I don't know anything about that
09:45:39    3   because it's not -- I did not put it in that blank, so
09:45:41    4   I don't -- I did nothing to investigate it because it
09:45:43    5   wasn't my issue.
09:45:44    6         Q.    Who did?
09:45:48    7         A.    Honestly, I don't know.
09:45:50    8         Q.    Let's move forward a couple of pages.              And
09:46:03    9   I'm -- it says page 9 of 37 at the top, if that's
09:46:07   10   helpful for you Mr. Deyoe.
09:46:08   11         A.    Yes.
09:46:09   12         Q.    I'm at the Part 7 where it refers to office
09:46:16   13   furniture, fixtures and equipment and collectibles.                    Do
09:46:20   14   you see that?
09:46:20   15         A.    Yes.
09:46:21   16         Q.    And there's a question there:            Does the
09:46:26   17   debtor -- meaning PASE -- own or lease any office
09:46:29   18   furniture, fixtures, equipment or collectibles?                  And
09:46:32   19   the answer is no.        Do you see that?
09:46:33   20         A.    I do.
09:46:33   21         Q.    Is it your understanding that PASE no longer
09:46:35   22   has any office furniture?
09:46:36   23         A.    We have office furniture.           I think that -- I
09:46:39   24   don't know why this was -- why this was put into these

09:46:41   25   forms this way because Mr. Patterson filled these forms

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09:46:46    1   out, so that would be a legal question.               But my -- I
09:46:50    2   can't speak to that.
09:46:51    3                      We certainly do have some office
09:46:53    4   furniture and fixtures that are within the plant.
09:46:55    5   Their value would be extremely minimal, so I imagine
09:46:59    6   that's why this was checked as a no and put as zero
09:47:02    7   value because it's -- used office furniture in a
09:47:05    8   20-year old plant has very little value.                So I would
09:47:08    9   imagine that is why that was put that way.
09:47:11   10         Q.    Let me show you a document.           Bear with me.
09:47:40   11                      I'm going to hand you Exhibit No. 25.
09:47:52   12                      MR. JACOBS:      Mr. Patterson, here you go.
09:47:44   13                      (Exhibit No. 25 marked.)
09:47:55   14         Q.    (By Mr. Jacobs)       I've handed you Exhibit 25
09:48:00   15   which has been produced by PASE.             Do you see that
09:48:05   16   PASE-2006 at the top?
09:48:05   17         A.    I do.
09:48:06   18         Q.    That's the Bates number.
09:48:06   19         A.    Yes.
09:48:07   20         Q.    And that reflects a document that was produced
09:48:09   21   by PASE, right?
09:48:09   22         A.    Yes.
09:48:10   23         Q.    And the title of it is "Balance Sheet as of
09:48:13   24   December 31, 2019."         Do you see that?

09:48:14   25         A.    Yes.

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09:48:15    1         Q.    And Exhibit 25 -- if you'll go to the second
09:48:21    2   page, sir.      There is a reference to -- in line item
09:48:33    3   10410 -- office furniture and equipment.                Do you see
09:48:37    4   that?
09:48:37    5         A.    Yes.
09:48:37    6         Q.    And it has a total of $85,425.82.             Do you see
09:48:44    7   that?
09:48:44    8         A.    I do.
09:48:45    9         Q.    Does PASE still have all of that office
09:48:47   10   furniture and equipment, to your knowledge?
09:48:49   11         A.    We do.     We have office furniture.
09:48:54   12         Q.    There's also a reference to computer equipment
09:48:59   13   and accessories at $240,227.70.             Do you see that?
09:49:06   14         A.    I do.
09:49:06   15         Q.    And does PASE still have all of that?
09:49:08   16         A.    We do have computer equipment and accessories,
09:49:12   17   yes.
09:49:28   18         Q.    And so there was office furniture and
09:49:30   19   equipment, including computer equipment and software,
09:49:35   20   that was not included on Schedule A and B, correct, of
09:49:44   21   Exhibit 3?
09:49:49   22         A.    Why this is shown in part 7 as a no, I do not
09:49:58   23   know.      I can tell you that what's on this balance sheet
09:50:03   24   is purely accounting treatment of things that -- and I

09:50:07   25   don't prepare the balance sheet, I don't -- this is not

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09:50:09    1   something that I'm familiar with, so we'll need to ask
09:50:12    2   others about this.
09:50:13    3                      But numbers that are in an accounting
09:50:15    4   style balance sheet do not reflect what would be in
09:50:19    5   these schedules.        This is a complete disconnection that
09:50:22    6   you're trying to somehow tie together, and one has
09:50:25    7   nothing to do with the other.
09:50:26    8         Q.    Exhibit 25, PASE's balance sheet, who prepares
09:50:29    9   that, sir?
09:50:30   10         A.    I don't know.       You can ask Mr. Boriack; he's
09:50:34   11   familiar with it.        But I don't know if he prepared it
09:50:36   12   or if an outside bookkeeper prepared it.
09:50:38   13         Q.    One thing you do know is PASE does still
09:50:53   14   indeed -- and did in April of 2021 -- have office
09:50:57   15   furniture, right?
09:50:58   16         A.    Yes.
09:50:58   17         Q.    And it did have office equipment, including
09:51:01   18   computer equipment and software, correct?
09:51:03   19         A.    Yes.
09:51:03   20         Q.    And none of that is reflected here on
09:51:12   21   Schedule A and B of Exhibit 3, correct?
09:51:20   22         A.    Correct.
09:51:34   23         Q.    Let's go down to Part 8, "Machinery, Equipment
09:51:44   24   and Vehicles."       Do you see that section, sir?

09:51:46   25         A.    Yes.

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09:51:47    1         Q.    And you'll see this goes on for several pages
09:51:53    2   and has a total of 3 million -- 3,336,674.
09:52:13    3         A.    Yes.
09:52:13    4         Q.    Do you see that?
09:52:14    5         A.    Yes.
09:52:14    6         Q.    And were you involved in preparing this, sir?
09:52:16    7         A.    I did not input these numbers into this form.
09:52:20    8   I was involved in coming up with the numbers that went
09:52:25    9   into much of this.
09:52:27   10         Q.    And you had referenced that earlier, that
09:52:30   11   you're familiar with the backup documentation that was
09:52:33   12   utilized to input these line items and the figures,
09:52:38   13   correct?
09:52:40   14         A.    Yes.
09:52:55   15                      (Exhibit No. 11 marked.)
09:52:50   16         Q.    (By Mr. Jacobs)       I'm going to hand you Exhibit
09:52:52   17   No. 11, Mr. Deyoe.         Please take a look at that.
09:53:14   18         A.    Yes.
09:53:15   19         Q.    Is this the backup that you just referenced as
09:53:19   20   having been the source data and the information for the
09:53:25   21   line items in Part 8 of Schedule A and B of Exhibit 3?
09:53:34   22         A.    In large part, yes.         I would have to look at
09:53:38   23   each number to see if each number was transposed.                  But
09:53:40   24   in large part, yes.

09:53:50   25         Q.    If you'll look at Exhibit 11, sir.             You'll see

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09:53:58    1   that at the top of Exhibit No. 11 there is a reference
09:54:01    2   to a main building, 15,000 square feet.               Do you see
09:54:05    3   that?
09:54:05    4         A.    I do.
09:54:06    5         Q.    It had an estimated value by PASE at
09:54:13    6   $1,365,600, right?
09:54:17    7         A.    Yes.
09:54:18    8         Q.    Who created the -- or who prepared and
09:54:24    9   determined the estimated values in Exhibit No. 11?
09:54:28   10         A.    It was a -- myself and Mr. Boriack.
09:54:39   11         Q.    Has there been, what I'll call, an independent
09:54:44   12   appraisal of PASE's assets?
09:54:48   13         A.    No.
09:54:48   14         Q.    And would that include its office furniture
09:54:53   15   and equipment as well?
09:54:54   16         A.    You mean would it include the fact that we
09:54:59   17   have not had an independent --
09:55:01   18         Q.    Correct.     I'm sorry.
09:55:01   19         A.    Yes.     We have not had an outside appraisal.
09:55:05   20         Q.    When you say "the basis," let me make sure I
09:55:18   21   understand what the basis is.            You say, "Comparable
09:55:22   22   construction is the basis here for let's say the main
09:55:24   23   building."      What does that mean?
09:55:25   24         A.    What that means is if you were to replace that

09:55:32   25   building, that is an estimate of what it would cost to

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09:55:36    1   replace a comparable building in that location.
09:55:39    2         Q.    How was that determined by you and
09:55:42    3   Mr. Boriack?
09:55:43    4         A.    I primarily used the Thermoflow software that
09:55:49    5   we have, which is kind of a state-of-the-art software
09:55:52    6   that's widely used in the power industry, which does
09:55:55    7   construction and cost estimates for a number of items.
09:56:01    8   And I primarily used that for that particular one.
09:56:03    9         Q.    Then there's a basis that says "sale."               What
09:56:06   10   does that refer to?
09:56:08   11         A.    That is our best estimate using engineering
09:56:13   12   judgment and what we know of, you know, used equipment
09:56:18   13   sales and things.        It's for sale of the asset as is, in
09:56:26   14   it's as-is condition.
09:56:27   15         Q.    And then if it says "scrap"?
09:56:31   16         A.    "Scrap" would be demoing -- you know,
09:56:36   17   demolishing that particular equipment and essentially
09:56:39   18   getting its material value.           Not a value as a piece of
09:56:43   19   equipment to be used by someone else, but literally
09:56:46   20   just the value for its raw material.
09:56:54   21                      THE WITNESS:      Could we take a one-minute
09:56:56   22   break so I can just refill coffee?
09:56:57   23                      MR. JACOBS:      Sure.    We'll go off the
09:56:59   24   record.

10:03:56   25                      (Off the record 9:56 a.m. to 10:04 a.m.)

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10:04:01    1         Q.    (By Mr. Jacobs) Sticking with Exhibit No. 3,
10:04:07    2   Part 8, on the "Machinery, Equipment and Vehicles."
10:04:15    3   All of this equipment, machinery and vehicles, is all
10:04:18    4   of it located at the Port Arthur PASE site?
10:04:23    5         A.    Yes.    There are a few small items that are
10:04:29    6   located in the storage units, that we have two storage
10:04:37    7   units that were listed somewhere in this paperwork,
10:04:40    8   where some of these things have been moved offsite.
10:04:44    9         Q.    Can you identify the ones that are offsite in
10:04:52   10   a storage unit, sir?
10:04:53   11         A.    I don't know that I can identify specific
10:04:56   12   pumps and things.        Let me think.       Give me one second
10:05:01   13   and I will.
10:05:01   14         Q.    Yes, sir.
10:05:22   15         A.    When you see there's a line item on page --
10:05:28   16   well, it's page 11 of 37 at the top.
10:05:31   17         Q.    Yes, sir.
10:05:32   18         A.    There's a line item for "spare parts/new."                 Do
10:05:40   19   you see that?
10:05:40   20         Q.    Yes.
10:05:40   21         A.    Some of those spare parts are offsite.               Some
10:05:47   22   of the more expensive things that we have as spare
10:05:51   23   parts we moved for security reasons and to make sure
10:05:52   24   they stay, you know, in a better atmosphere.

10:05:57   25                      And some of the miscellaneous

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10:06:00    1   instruments, the next line item down, are -- and spare
10:06:02    2   valves, those three things -- spare parts,
10:06:04    3   miscellaneous instruments and spare valves -- not all
10:06:05    4   of them but a few of them are in offsite storage.
10:06:11    5                      Also, if you were to go to page 13 of 37
10:06:22    6   at the top.
10:06:24    7         Q.    Yes, sir.
10:06:25    8         A.    Some of the water lab equipment, about halfway
10:06:32    9   down the page, the portable heaters that are shown,
10:06:38   10   toolboxes and tools, some of that is offsite.                 Welding
10:06:42   11   machines, spare small motors.            I don't know which ones
10:06:51   12   but some of those.
10:06:52   13         Q.    Okay.
10:06:53   14         A.    That's it.
10:06:54   15         Q.    Those are all of the items that are -- have
10:06:57   16   been put in the offsite storage?
10:06:59   17         A.    They have been put in offsite storage.
10:07:01   18         Q.    Some portion of them, right?
10:07:03   19         A.    Some portion, that's correct.
10:07:04   20         Q.    And otherwise, the remaining line items remain
10:07:07   21   at Port Arthur's PASE's site?
10:07:10   22         A.    That's correct.
10:07:10   23         Q.    When you first started talking about the
10:07:13   24   offsite storage, you referenced a better atmosphere.

10:07:16   25   Do you remember that testimony just a moment ago?

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10:07:18    1         A.    That's correct.
10:07:18    2         Q.    What do you mean by "better atmosphere"?
10:07:21    3         A.    I mean the Oxbow plant atmosphere is one of --
10:07:23    4   you know, there's a lot of coke dust in the area and
10:07:26    5   it's Gulf Coast -- as you know, Gulf Coast, humid --
10:07:30    6   humid environment, so things tend to deteriorate there
10:07:37    7   faster than they would in other places.               And so some of
10:07:39    8   these items, especially instruments and things that are
10:07:43    9   more sensitive to that, we felt like they were
10:07:46   10   certainly more secure because we want to make sure that
10:07:49   11   things don't get stolen.          But secondly, that we felt
10:07:52   12   like they would be better preserved in an offsite area
10:07:56   13   where they're enclosed and they don't have coke dust
10:08:01   14   getting to them.
10:08:02   15         Q.    Or the Gulf Coast breeze?
10:08:05   16         A.    And the Gulf Coast breeze, yeah.
10:08:07   17         Q.    Let's go to page 14 of 37 on Exhibit No. 3.
10:08:20   18   Are you with me?
10:08:20   19         A.    Yes.
10:08:21   20         Q.    This is talking about real property.              Do you
10:08:23   21   see that?
10:08:23   22         A.    Part 9?
10:08:25   23         Q.    Yes, sir.
10:08:26   24         A.    Yes.

10:08:27   25         Q.    And PASE leases real property in Port Arthur

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10:08:31    1   from Oxbow, correct?
10:08:33    2         A.    On a sublease basis, yes.
10:08:35    3         Q.    Okay.     What's the lease payment on an annual
10:08:39    4   basis?
10:08:39    5         A.    I don't know.
10:08:39    6         Q.    On a monthly basis?
10:08:43    7         A.    I don't know.
10:08:43    8         Q.    When's the last time that PASE made a lease
10:08:46    9   payment to Oxbow?
10:08:47   10         A.    I don't know.
10:08:48   11         Q.    Has it made one in 2021?
10:08:51   12         A.    I -- I don't know.
10:08:52   13         Q.    What about in 2020?
10:08:57   14         A.    I don't know.       That is not something that I've
10:09:00   15   ever worked on.
10:09:00   16         Q.    Is that something I would be better off asking
10:09:04   17   Mr. Boriack?
10:09:05   18         A.    Likely.
10:09:06   19         Q.    If you still have -- I think it is...              Is that
10:09:17   20   Exhibit No. 11 in front of you?
10:09:19   21         A.    Yes.
10:09:19   22         Q.    You see that there's listings of a main
10:09:22   23   building and a water treatment building.                Do you see
10:09:24   24   that?

10:09:25   25         A.    I do.

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10:09:27    1         Q.    And those are real property assets, meaning
10:09:32    2   structures that are PASE's, correct?
10:09:34    3         A.    Yes.
10:09:34    4         Q.    They are at the Port Arthur site, right?
10:09:36    5         A.    Yes.
10:09:37    6         Q.    Okay.     Are they listed here in Part 9 of the
10:09:46    7   real property?
10:09:48    8         A.    No.
10:10:03    9         Q.    Instead, what PASE put in its filing, its
10:10:09   10   bankruptcy filing, was it stated it subleased the plant
10:10:14   11   and it had an unknown value of its interest, right?
10:10:19   12         A.    Where are you?
10:10:19   13         Q.    I'm still on page 14 of 37, sir.             Do you see
10:10:22   14   that?
10:10:25   15         A.    Okay.     And you're in Part 9?
10:10:28   16         Q.    Yes, sir.
10:10:30   17         A.    And what was your question?
10:10:32   18         Q.    My question is:       It listed the value of the
10:10:37   19   space that it had in Port Arthur that it was leasing as
10:10:43   20   "unknown."      Do you see that?        And put a zero value in
10:10:52   21   Line Item 56, correct?
10:10:53   22         A.    I see that, yes.
10:10:54   23         Q.    Even though if we look at Exhibit No. 11, it
10:10:57   24   has a main building and a water treatment building that

10:10:59   25   it estimated to have a value of over 1.3 million and

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10:11:04    1   $466,000, correct?
10:11:06    2         A.    Correct.
10:11:07    3                      MR. PATTERSON:       Objection; assumes facts
10:11:09    4   not in evidence and to form.            That's not what it says.
10:11:13    5         Q.    (By Mr. Jacobs)       Exhibit No. 11; did you
10:11:17    6   create Exhibit No. 11?
10:11:18    7         A.    I did.
10:11:18    8         Q.    Personally, yourself, right?
10:11:21    9         A.    I did.
10:11:21   10         Q.    And you're the one that put in the $1,365,600
10:11:27   11   for the main building of PASE's in Port Arthur, right?
10:11:30   12         A.    Yes.
10:11:31   13         Q.    Can you explain for me why that is not
10:11:33   14   reflected in Part 9 of Real Property of Exhibit No. 3
10:11:38   15   in front of you, sir?
10:11:40   16                      MR. PATTERSON:       Objection; calls for a
10:11:42   17   legal conclusion, assumes facts not in evidence, and
10:11:44   18   form and asked and answered.
10:11:47   19                      You're assuming that it's supposed to be
10:11:49   20   there.
10:11:51   21         A.    I cannot.
10:11:57   22         Q.    (By Mr. Jacobs)       The same question for the
10:11:58   23   water treatment building.           Can you explain for me --
10:12:02   24                      MR. PATTERSON:       The same objection.

10:12:03   25   You're assuming facts not in evidence, you're asking

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10:12:05    1   for a legal conclusion, and it's been asked and
10:12:10    2   answered.      You're assuming that something is supposed
10:12:12    3   to be there.
10:12:13    4         Q.    (By Mr. Jacobs)       Can I finish my question
10:12:14    5   first, Mr. Deyoe, so we have a clean record?
10:12:17    6         A.    Yes.
10:12:17    7         Q.    Very good.
10:12:18    8                      Can you explain for me why the water
10:12:21    9   treatment building that you personally put a value of
10:12:25   10   $466,000 is not included in Part 9 of Exhibit No. 3,
10:12:29   11   which is PASE's bankruptcy filing, when it asks about
10:12:33   12   real property?
10:12:33   13                      MR. PATTERSON:       Objection; assumes facts
10:12:35   14   not in evidence, calls for a legal conclusion, it's
10:12:38   15   argumentative and it's been asked and answered.
10:12:40   16                      You're making assumptions about something
10:12:43   17   that doesn't exist.
10:12:44   18         A.    I cannot.
10:12:44   19         Q.    (By Mr. Jacobs) Was the main building in
10:12:49   20   existence at PASE's facility in Port Arthur on
10:12:53   21   April 14, 2021?
10:12:55   22         A.    Yes.
10:12:56   23         Q.    Is it there today, sir?
10:12:57   24         A.    Yes.

10:12:58   25         Q.    The water treatment building, was it in

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10:13:03    1   existence on PASE's facility in Port Arthur, Texas, on
10:13:09    2   April 14, 2021?
10:13:10    3         A.    Yes.
10:13:11    4         Q.    Is it there today, sir?
10:13:12    5         A.    Yes.
10:13:15    6         Q.    Let's go to the next page, sir, of Exhibit --
10:13:25    7   there you go.        Exhibit No. 3.
10:13:27    8                      There's a question about goodwill; and it
10:13:29    9   has a total of zero for goodwill, intellectual
10:13:38   10   property, intangibles, customer lists, licenses,
10:13:42   11   Internet domain names and patent and copyrights and
10:13:47   12   trade secrets.        Do you see that?
10:13:53   13         A.    I do.
10:13:53   14         Q.    What was the basis for that figure?
10:14:01   15         A.    I don't know.
10:14:01   16         Q.    Okay.     Let's go down to the bottom.           There's a
10:14:13   17   reference there, on line 74, to a cause of action
10:14:16   18   against third parties.          Do you see that?
10:14:18   19         A.    Yes.
10:14:18   20         Q.    There's the reference to the judgment that
10:14:24   21   remains unpaid against Oxbow for $7 million.                 Do you
10:14:26   22   see that?
10:14:26   23         A.    Yes.
10:14:27   24         Q.    That was -- that's what I have referred to as

10:14:28   25   the 2015 judgment, right?

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10:14:28    1         A.    Yes.
10:14:32    2         Q.    From the first arbitration.           How would you
10:14:35    3   like us to refer to that?
10:14:37    4         A.    It doesn't matter.        I know what it is, so...
10:14:40    5         Q.    Okay.
10:14:48    6         A.    I'd like for you to refer to it as the money
10:14:50    7   that Oxbow owes us.
10:14:53    8         Q.    I understand that.
10:14:54    9                      Has that been determined to be doubtful
10:14:56   10   or an uncollectible amount?
10:15:02   11         A.    No.    I would not -- I would not say that.
10:15:05   12         Q.    Why would you not say that?
10:15:07   13         A.    Because it's at issue in our legal proceedings
10:15:14   14   against Oxbow right now.          That's for a court to decide.
10:15:21   15         Q.    Well, that judgment came into existence in
10:15:24   16   2015, correct?
10:15:25   17         A.    Yes.
10:15:25   18         Q.    And as we sit here six years later in 2021,
10:15:30   19   not a penny has been paid on it, correct?
10:15:32   20         A.    Sadly, that is true.         Oxbow's legal
10:15:36   21   maneuvering is masterful.
10:15:46   22         Q.    And collecting on that was a subject of the
10:15:48   23   second arbitration that occurred in 2019, correct?
10:15:51   24         A.    It was a subject, yes.

10:15:53   25         Q.    Has PASE attempted to sell or assign that

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10:16:00    1   judgment to a third party?
10:16:09    2         A.    No.
10:16:09    3         Q.    Has anyone ever offered PASE anything for that
10:16:17    4   judgment in order to buy it or to get an assignment of
10:16:22    5   it?
10:16:24    6         A.    No.
10:16:26    7         Q.    There is a second reference to claims against
10:16:34    8   Oxbow Calcining of pending lawsuit.              Do you see that?
10:16:45    9         A.    Yes.
10:16:45   10         Q.    That's the one that was filed in Montgomery
10:16:48   11   County in November of 2020, correct?
10:16:52   12         A.    Yes.
10:16:52   13         Q.    Okay.     It was filed in Montgomery County; and
10:16:57   14   then it got transferred out of Montgomery County to
10:17:01   15   Harris County, correct?
10:17:02   16         A.    It did.
10:17:03   17         Q.    It was transferred on March 15, 2021, to
10:17:08   18   Harris County?
10:17:09   19         A.    I don't recall the date.
10:17:26   20         Q.    Let's see if I can help you with that.               I'll
10:17:26   21   hand you Exhibit No. 19.
10:17:28   22                      (Exhibit No. 19 marked.)
10:17:28   23         A.    Are we finished with Exhibit No. 11?
10:17:31   24         Q.    I may come back to it.          I don't think we're

10:17:36   25   done with it just yet.          Please keep it handy.

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10:17:51    1         A.    Yes.
10:17:51    2         Q.    Okay.     So, Exhibit 19 is the order from the
10:17:52    3   Montgomery County judge transferring that lawsuit,
10:17:54    4   that's referenced in Exhibit 3 as claims against Oxbow
10:18:01    5   Calcining, to Harris County, correct?
10:18:06    6         A.    That is what it says, yes.
10:18:07    7         Q.    And then once it got to Harris County, it was
10:18:10    8   assigned to the 200 -- it was transferred to the 270th
10:18:15    9   District Court, which is Judge Davis, correct?
10:18:19   10         A.    I don't recall.
10:18:41   11                      (Exhibit No. 20 marked.)
10:18:41   12         Q.    (By Mr. Jacobs)       Let me hand you Exhibit
10:18:41   13   No. 20.
10:18:47   14                      Do you see the Cause No. 202118365, PASE
10:18:55   15   vs. Oxbow Calcining, was transferred from the 189th
10:18:57   16   District Court to the 270th District Court?                Do you see
10:19:00   17   that?
10:19:00   18         A.    I see it.
10:19:02   19         Q.    And that was on April 7, 2021, by Judge
10:19:06   20   Michael Gomez, who is the administrative judge of
10:19:09   21   Harris County.        Do you see that?
10:19:09   22         A.    I see it.
10:19:09   23         Q.    And the 270th District Court, that's Judge
10:19:13   24   Dedra Davis, correct?

10:19:15   25         A.    Yes.

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10:19:15    1         Q.    And then it was a week after this transfer
10:19:22    2   order got signed that PASE filed for its bankruptcy,
10:19:26    3   correct?
10:19:26    4         A.    This was April 7th, yes, one week later.
10:19:39    5         Q.    I'm going back to Exhibit No. 3 on the causes
10:19:59    6   of action against third parties.             Do you see that?
10:20:04    7         A.    What page?
10:20:05    8         Q.    I'm on page 15 of 37, sir.
10:20:08    9         A.    Yes.
10:20:08   10         Q.    There's a reference to the claim against
10:20:12   11   Oxbow, the pending lawsuit -- what I'm going to call
10:20:14   12   the Montgomery County lawsuit that got transferred to
10:20:17   13   Harris County and Judge Davis -- as an unknown in terms
10:20:19   14   of value.      Do you see that?
10:20:20   15         A.    I see it.
10:20:21   16         Q.    Does PASE have any other causes of action
10:20:36   17   against third parties?
10:20:37   18         A.    No.
10:20:38   19         Q.    Does it have any malpractice claims against
10:20:40   20   its lawyers?
10:20:41   21         A.    No.
10:20:48   22         Q.    There's now a -- if I turn to the next page,
10:20:54   23   there's a reference to cold stacks.              Do you see that?
10:21:03   24         A.    Yes.

10:21:03   25         Q.    And there is a statement there:            There is

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10:21:07    1   corrosive liquid leaking out of the cold stacks.                  Do
10:21:11    2   you see that?
10:21:12    3         A.    I do.
10:21:12    4         Q.    Do you have any documentation of that, sir?
10:21:15    5         A.    I don't.     I think there are -- there is
10:21:18    6   documentation of that, that our employee on the ground
10:21:25    7   has pictures of it.
10:21:28    8         Q.    And who is that employee?
10:21:30    9         A.    His name is Nathan Dickman, D-I-C-K-M-A-N.
10:21:40   10         Q.    Has PASE notified Oxbow of this corrosive
10:21:46   11   liquid that it claims is leaking out of the cold
10:21:50   12   stacks?
10:21:50   13         A.    I don't know.       I don't know.
10:21:50   14         Q.    When did --
10:21:51   15         A.    This would be something you need to ask Ted
10:21:54   16   about -- Mr. Boriack, I should say.
10:21:57   17         Q.    When did the leaking occur?
10:22:02   18         A.    I don't recall.
10:22:02   19         Q.    If the cold stacks were going to be removed --
10:22:07   20   say Oxbow went in and just took out the cold stacks --
10:22:10   21   then would PASE complete its removal of its equipment?
10:22:14   22                      MR. PATTERSON:       Objection; calls for
10:22:21   23   speculation.
10:22:24   24         A.    I don't know.

10:22:24   25         Q.    (By Mr. Jacobs)       Item No. 79:       "Has any of the

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10:22:36    1   property listed in Part 11 been appraised by a
10:22:40    2   professional within the last year?"              Do you see that?
10:22:44    3         A.    I do.
10:22:45    4         Q.    Okay.     And that includes the $7 million 2015
10:22:53    5   judgment, right, which is listed as item No. 74?
10:23:05    6         A.    I would not say that.         I wouldn't -- when it
10:23:10    7   talks about -- that No. 79, when it talks about
10:23:14    8   property being appraised by a professional, I imagine
10:23:20    9   this is -- it's referring to these specific items in
10:23:26   10   Section... in Part 8.
10:23:36   11         Q.    Okay.     Well, let's go to page 14.          The top of
10:23:39   12   page 14, we'll start here.
10:23:43   13         A.    Page 14.
10:23:44   14         Q.    Page 14.     We're going to go backwards and then
10:23:47   15   we're going to move forwards.
10:23:49   16         A.    All right.
10:23:49   17         Q.    The top of page 14 of Exhibit No. 3, there's
10:23:52   18   question No. 53:        "Has any of the property listed in
10:23:55   19   Part 8 been appraised by a professional within the last
10:23:59   20   year?"     And PASE answered that "no," correct?
10:24:01   21         A.    Yes.
10:24:02   22         Q.    And that, in fact, is true, right?             Part 8 is
10:24:08   23   the equipment and materials that are part of the
10:24:11   24   schedule of Exhibit No. 11 that you created, right?

10:24:19   25         A.    Yes.     Although, I would say, for instance,

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10:24:41    1   item -- if you look at -- on page 10 of 37, the steam
10:24:46    2   turbine generator, for instance, which is listed at
10:24:49    3   $325,000, that's listed at $325,000 because we have it
10:24:55    4   listed at $325,000 with a professional that helped us
10:24:59    5   to derive that value of $325,000.
10:25:02    6         Q.    Who was that professional?
10:25:03    7         A.    It's a gentleman -- I mean, it's a company
10:25:06    8   that we have it listed with online.              It's an equipment
10:25:12    9   broker that sells steam turbines.             I'd have to look up
10:25:15   10   the name.      I don't recall the name of the firm off the
10:25:19   11   top of my head.        But that's one that I would consider
10:25:21   12   him to be a professional.
10:25:21   13         Q.    Who is that?
10:25:24   14         A.    I'll have to look it up.          I don't know the
10:25:27   15   name of the company off the top of my head.
10:25:29   16         Q.    And when you say that it's listed -- so it's
10:25:31   17   currently listed for sale somewhere on the Internet?
10:25:34   18         A.    That is correct.
10:25:35   19         Q.    How long has it been listed for sale on the
10:25:37   20   Internet?
10:25:37   21         A.    A year.
10:25:38   22         Q.    What other equipment has been listed for sale
10:25:41   23   on the Internet?
10:25:41   24         A.    That's the only piece.          Other items, I would

10:25:50   25   agree with your -- with this number, that have not been

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10:25:53    1   appraised.
10:25:54    2         Q.    So 53 should have been "yes" and referenced
10:25:58    3   the steam turbine generator being listed for sale by
10:26:01    4   someone on the Internet?
10:26:09    5                      MR. PATTERSON:       Object to form.       It
10:26:12    6   just -- it just misstates.           That's not what it says.
10:26:18    7         A.    It depends on what you consider to be an
10:26:23    8   appraisal.      I mean, is an appraisal by an appraiser,
10:26:26    9   that comes and says this is what it's valued at?                   Or
10:26:29   10   when you list a piece equipment, do you consider that
10:26:32   11   to be a professional appraisal?
10:26:33   12                      I'm just simply pointing out that that
10:26:36   13   particular item -- that value for that particular item
10:26:39   14   was derived at with what I would consider to be a
10:26:41   15   professional in the industry because it's someone who
10:26:44   16   sells steam turbines.          But he's not an appraiser.           He's
10:26:48   17   an equipment broker.
10:26:50   18         Q.    (By Mr. Jacobs)       Okay.
10:26:50   19         A.    Okay?     So I don't think that No. 53 was
10:26:55   20   answered incorrectly.
10:26:56   21         Q.    Okay.     Let's go forward to page 15 of 37.               You
10:27:04   22   see Part 11 says "All other assets."              Do you see that?
10:27:07   23         A.    Yes, sir.
10:27:08   24         Q.    And it's got questions or items -- Line Items

10:27:12   25   70 through 79 on pages 15 and 16.             Do you see that?

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10:27:17    1         A.    Yes.
10:27:17    2         Q.    And included within that is Line Item 74.                  Do
10:27:21    3   you see that?
10:27:21    4         A.    Yes.
10:27:22    5         Q.    Line Item 74 is "Causes of action against
10:27:28    6   third parties," right?
10:27:28    7         A.    Correct.
10:27:29    8         Q.    And it's got two entries there:            The 2015
10:27:32    9   judgment against Oxbow and then the Montgomery
10:27:36   10   County -- now Harris County -- lawsuit, correct?
10:27:39   11         A.    Correct.
10:27:40   12         Q.    And Line Item No. 79 has a question:              "Has any
10:27:48   13   of the property listed in Part 11 been appraised by a
10:27:52   14   professional within the last year?"              Do you see that?
10:27:54   15         A.    Yes.
10:27:54   16         Q.    And PASE answered that "no."            Is that correct?
10:28:00   17         A.    It was checked "no."         Correct.
10:28:02   18         Q.    And so is your testimony that that answer of
10:28:07   19   "no" is still correct?
10:28:12   20         A.    I don't understand that question on No. 79 as
10:28:16   21   to why it was checked "no" or "yes."              I don't know what
10:28:18   22   would be considered an appraisal of a judgment, in
10:28:22   23   your -- in No. 74 there, where it says "The judgment
10:28:25   24   that remains unpaid against Oxbow of $7 million."                  What

10:28:28   25   would be considered a professional appraisal of that?

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10:28:31    1                      We have attorneys, we have -- you know,
10:28:34    2   that has been valued.          We know what the original
10:28:38    3   judgment was, the original award was.               We know what all
10:28:42    4   of the interest on that money is to this date.                 There
10:28:48    5   has been a number of professionals that have worked on
10:28:51    6   that, so do you consider that to be a professional
10:28:53    7   appraisal of an award?
10:28:55    8                      And all of these other items, I mean,
10:28:58    9   that's all wrapped up in that -- in that particular
10:29:00   10   lawsuit that you referred to as the Montgomery County
10:29:03   11   suit.      There are a number of values in that lawsuit.
10:29:06   12   Would you consider that to be -- having been
10:29:08   13   professionally appraised?           Because lawyers worked on it
10:29:10   14   and they're professionals.           I mean, you're supposed to
10:29:12   15   be a professional.         If you worked on something, would
10:29:15   16   you consider that to be a professional appraisal?                  In
10:29:19   17   the context of a form on a Chapter 11 filing, I don't
10:29:21   18   know whether that's supposed to be checked "yes" or
10:29:24   19   "no."      I can't answer the question.
10:29:25   20         Q.    Has there been an accounting treatment to put
10:29:28   21   a value for PASE on that?
10:29:30   22         A.    I do not know.
10:29:31   23         Q.    Has there been an opinion letter by a law firm
10:29:39   24   valuing either of those items, the 2015 judgment or the

10:29:43   25   new lawsuit, for purposes of PASE's books and records?

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10:29:48    1                      MR. PATTERSON:       Objection; form.
10:29:50    2   Compound question.
10:29:53    3         Q.    (By Mr. Jacobs)       Do you understand my
10:29:53    4   question?
10:29:53    5         A.    No.
10:29:54    6         Q.    Okay.     Let me try it again.
10:29:56    7                      Has there been an opinion letter or an
10:30:01    8   audit -- well, let's start with an opinion letter.                     Has
10:30:02    9   there been an opinion letter by a law firm that has put
10:30:08   10   a value on the 2015 judgment?
10:30:10   11         A.    I do not know.
10:30:13   12         Q.    Has there been an audit response letter by a
10:30:18   13   law firm that provides a value on the 2015 judgment?
10:30:23   14                      MR. PATTERSON:       Object; form.
10:30:26   15                      I'm not sure a law firm issues an audit
10:30:30   16   opinion, which is what you asked him, an audit letter
10:30:34   17   from a law firm.        But all right.       Go ahead.
10:30:37   18         A.    I do not know.       I don't deal with our
10:30:42   19   auditors.      I don't deal with the balance sheets and
10:30:44   20   those sorts of things that you're asking about, so I
10:30:46   21   have no -- I cannot make a comment on these questions.
10:30:49   22         Q.    (By Mr. Jacobs)       If I were to ask you those
10:30:51   23   same two questions about the Montgomery County lawsuit
10:30:54   24   that got transferred to Judge Davis, would your answers

10:30:57   25   be the same?

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10:30:58    1         A.    The answers will be the same.
10:30:59    2         Q.    Who does deal with the auditors for PASE?
10:31:02    3         A.    Ted Boriack.
10:31:05    4         Q.    Let's keep going here.          I think you have
10:31:25    5   another topic related to this document, Exhibit No. 3.
10:31:53    6   Let's move forward in this.
10:32:37    7                      Would you go to page 21 of 37, please?
10:32:44    8   You've been identified to talk about Item 10, which is
10:32:47    9   "All matters concerning or relating to PASE's escrow
10:32:51   10   obligation under the HEA as described in Schedule E and
10:32:55   11   F filed in the bankruptcy case."             Do you see that?          You
10:32:58   12   understand that, right?
10:33:00   13         A.    Yes.
10:33:00   14         Q.    Item 10.     I'm on page 21 of Exhibit 3, and we
10:33:05   15   see there is a reference here to the escrow obligation
10:33:10   16   that is owed to Oxbow Calcining.             Do you see that?
10:33:15   17         A.    I see the reference, yes.
10:33:19   18         Q.    Okay.     And it is listed as being $200,000?
10:33:21   19         A.    Yes.     There's a typo there.
10:33:23   20         Q.    So that number is incorrect?
10:33:25   21         A.    That number is incorrect.
10:33:26   22         Q.    What is the correct number?
10:33:27   23         A.    I believe it's $2 million that's at issue.
10:33:31   24         Q.    And that was $2 million pursuant to the terms

10:33:40   25   of the HEA and then as part of the arbitration award

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10:33:44    1   and the judgment entered by Judge Davis, right?
10:33:47    2         A.    That is all in dispute; but that is the
10:33:50    3   $2 million that you're describing, yes, that's at
10:33:52    4   issue.
10:33:52    5         Q.    And when you say it's in dispute, it's part of
10:33:55    6   the appeal of Judge Davis' final judgment, right?
10:33:58    7         A.    Correct.
10:33:58    8         Q.    That's pending in the Houston Court of
10:34:03    9   Appeals, right?
10:34:03   10         A.    Not anymore, but yes.         Oh, court of appeals,
10:34:08   11   yes.
10:34:14   12         Q.    And so if we go to page 23 of 37, where it
10:34:22   13   adds up all of the priority and nonpriority claims and
10:34:26   14   lists them at $224,000, that number is incorrect as
10:34:29   15   well, right?
10:34:42   16         A.    Yes.
10:34:43   17         Q.    It's, in fact, over $2 million, right?
10:34:50   18         A.    Yes.
10:34:51   19         Q.    And then if we go to page 26 of 37.              That
10:35:55   20   $224,000 number there is incorrect as well, right?
10:35:58   21         A.    Yes.
10:35:59   22         Q.    In fact, it's over $2 million, correct?
10:36:02   23         A.    Yes.
10:36:02   24         Q.    Let's go to page 28 of 37.           And this is, in

10:36:20   25   fact, also within your topics because you've got the

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10:36:25    1   Statement of Financial Affairs, correct, as one of your
10:36:29    2   topics?     That's Topic No. 12.
10:36:34    3         A.    Yes.
10:36:34    4         Q.    All right.      So I want to start first on the
10:36:50    5   gross revenue from the business, the income part,
10:36:53    6   Part 1.     From January 1, 2021, to the filing date of
10:37:01    7   April 14, 2021, it states that there was $10,588 of
10:37:10    8   gross revenue.       Do you see that?
10:37:11    9         A.    Yes.
10:37:12   10         Q.    And it states that the source of that was not
10:37:14   11   from operating the business but it was from other,
10:37:17   12   correct?
10:37:17   13         A.    Correct.
10:37:17   14         Q.    That's because the business was not operating,
10:37:20   15   right?
10:37:22   16         A.    Right.
10:37:22   17         Q.    What was the source of that $10,588, sir?
10:37:27   18         A.    You know, I don't recall.           These three line
10:37:29   19   items here are going to be better asked of Mr. Boriack.
10:37:33   20   I know this is not something that was supposed to be --
10:37:36   21   this is supposed to be on my list, but he's much more
10:37:41   22   in tune with the general ledger and the accounting.
10:37:44   23   And so in terms of how accounting was accounted for, I
10:37:50   24   can't answer those questions.

10:38:07   25         Q.    What about Part 2 on this; do I need to be

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10:38:10    1   asking you these questions about transfers made before
10:38:13    2   filing bankruptcy or am I better off asking Mr. Boriack
10:38:16    3   that?
10:38:43    4         A.    You'd be better off asking Mr. Boriack those.
10:38:45    5                      MR. JACOBS:      Can we have an agreement
10:38:47    6   that Mr. Boriack will address these issues so that I
10:38:50    7   don't waste his time with these topics?
10:38:52    8                      MR. PATTERSON:       Sure, yeah.
10:38:53    9         Q.    (By Mr. Jacobs)       Let's go to the next page.
10:39:00   10   Part 3:     Legal Actions or Assignments.            Should I be
10:39:04   11   asking you these questions or should I be asking
10:39:06   12   Mr. Boriack?
10:39:07   13         A.    You can ask me.
10:39:08   14         Q.    Okay.     Let's start with the first one.
10:39:11   15   There's a reference here to Oxbow Calcining, LLC versus
10:39:16   16   PASE, LP, 2020-18313.          Do you see that?
10:39:21   17         A.    Yes.
10:39:22   18         Q.    That's the judgment -- final judgment on the
10:39:24   19   arbitration that was before Judge Davis, correct?
10:39:28   20         A.    Yes.
10:39:28   21         Q.    There's a reference here to "Oxbow propounded
10:39:33   22   post-judgment discovery relating to the judgment."                     Do
10:39:37   23   you see that?
10:39:37   24         A.    Yes.

10:39:37   25         Q.    PASE never answered that, correct?

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10:39:40    1         A.    That's correct.
10:39:41    2         Q.    There was also a bond order of -- in excess of
10:39:48    3   a million dollars that was entered against PASE by
10:39:52    4   Judge Davis, correct?
10:39:53    5         A.    Correct.
10:39:54    6         Q.    And it had been appealed by PASE, and then
10:39:56    7   there was an appellate court decision in March 2021 of
10:40:05    8   this year, correct?
10:40:06    9         A.    I don't recall the dates.
10:40:06   10         Q.    But you know the Houston Appellate Court heard
10:40:10   11   PASE's appeal on that and rejected PASE's arguments
10:40:14   12   against that bond amount, right?
10:40:17   13         A.    I would need to see the documents.
10:40:36   14         Q.    I'm going to hand you Exhibit 17, first.
10:40:54   15                      (Exhibit No. 17 marked.)
10:40:54   16                      MR. JACOBS:      Here you go, Mr. Patterson.
10:40:59   17         Q.    (By Mr. Jacobs)       You see Exhibit No. 17 is an
10:41:01   18   order signed by Judge Davis on November 24, 2020.                  Do
10:41:09   19   you see that?
10:41:09   20         A.    Yes.
10:41:10   21         Q.    Okay.     And it is titled "Order Increasing
10:41:15   22   Amount of Security to Supersede Judgment."                Right?
10:41:18   23         A.    That's what it says.
10:41:19   24         Q.    And under this order, PASE was ordered that if

10:41:23   25   it were to supersede the judgment, it needed to

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10:41:27    1   increase by $1,068,708.69 by March 1, 2021, correct?
10:41:41    2         A.    Those are your words.         I mean, I'd have to --
10:41:45    3   we'd have to read it.
10:41:46    4         Q.    Okay.     Go ahead and read it.
10:41:47    5                      MR. PATTERSON:       I'm going to object as to
10:41:49    6   relevance.      Does it have anything to do with the assets
10:41:51    7   and liabilities of this debtor?
10:41:53    8                      THE WITNESS:      This is part of the
10:41:54    9   $2 million that we have at issue, right, that is all
10:41:57   10   under appeal and that we're arguing.
10:42:00   11                      MR. PATTERSON:       Is there a dispute as to
10:42:02   12   what it says?
10:42:03   13                      MR. JACOBS:      Not to my knowledge.
10:42:05   14                      MR. PATTERSON:       It's your seven hours,
10:42:07   15   but this just seems...
10:42:08   16         A.    What's the question again?           I'm sorry.
10:42:10   17         Q.    (By Mr. Jacobs)       Well, my question --
10:42:10   18                      MR. PATTERSON:       It's not even relevant to
10:42:12   19   the debtor.      There's an automatic stay, so -- okay.                Go
10:42:16   20   ahead.
10:42:19   21         Q.    (By Mr. Jacobs)       There was a bond order that
10:42:21   22   was put in place in excess of $1 million that needed to
10:42:24   23   be put in place by PASE to supersede Judge Davis'
10:42:29   24   judgment.      Agreed?

10:42:30   25                      MR. PATTERSON:       Objection; it's

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10:42:31    1   argumentative and it's not relevant and it's not the
10:42:34    2   best -- I mean, everyone in this room can read and it's
10:42:38    3   on a piece of paper.         So asking him to sit and read it
10:42:41    4   back to you -- because I'm sure you've read it multiple
10:42:45    5   times -- is just a total waste of everyone's time.                     You
10:42:49    6   know, yes, he can read but so can everyone else in this
10:42:52    7   room.      It says what it says.
10:42:54    8         A.    I'm happy to read it for you if you'd like,
10:42:56    9   out loud into the record, if you want to have it read
10:42:59   10   into the record.        I'm not going to make a legal opinion
10:43:02   11   about what these things say or mean.              I'm not an
10:43:05   12   attorney and so it's beyond my pay grade.
10:43:07   13         Q.    (By Mr. Jacobs)       Let's go back to Exhibit
10:43:09   14   No. 3.     And just so we're clear, the post-judgment
10:43:17   15   discovery had not been answered, correct, as of the
10:43:22   16   time of the filing, right?
10:43:23   17                      MR. PATTERSON:       Objection; asked and
10:43:24   18   answered and relevance.
10:43:26   19                      Okay.    It wasn't answered.        He already
10:43:28   20   told you it wasn't answered.            So what?
10:43:30   21         Q.    (By Mr. Jacobs)       Had the full bond amount been
10:43:32   22   put in place?
10:43:34   23         A.    No.
10:43:34   24                      MR. PATTERSON:       Objection; asked and

10:43:36   25   answered and relevance.

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10:43:37    1         Q.    (By Mr. Jacobs)       The status of the case is
10:43:40    2   listed as "concluded" by PASE.            Do you see that?
10:43:46    3         A.    I see where it was checked, yes.
10:43:48    4         Q.    Okay.     Isn't it true that there was a status
10:43:54    5   conference that was scheduled with Judge Davis on the
10:43:58    6   discovery and the bond for the week after PASE filed
10:44:01    7   its bankruptcy?
10:44:07    8         A.    I have no knowledge of that.
10:44:14    9         Q.    Okay.     Going down to the bottom at 7.3,
10:44:16   10   there's the reference to PASE versus Oxbow.                That's the
10:44:20   11   Montgomery County case that got transferred to Judge
10:44:22   12   Davis, right?
10:44:23   13         A.    Right.     And it's since been removed.
10:44:26   14         Q.    Okay.     There's a reference there that the
10:44:29   15   transfer is pending.         Do you see that?
10:44:33   16         A.    I see where it says that, yes.
10:44:35   17         Q.    That, in fact, was not true.            The transfer had
10:44:39   18   been completed by then, to Judge Davis, correct?
10:44:41   19         A.    That, I don't know.         I don't know the dates of
10:44:43   20   when that -- when that occurred.
10:44:44   21         Q.    Why don't you go look at --
10:44:48   22                      MR. PATTERSON:       I'm going to object as to
10:44:51   23   relevance.
10:44:51   24         Q.    (By Mr. Jacobs) -- Exhibit No. 20 that I had

10:44:54   25   already shown you.         It should be in this stack right

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10:44:55    1   here.
10:44:55    2                      MR. PATTERSON:       We can cut through all of
10:44:57    3   this.     What would you like it to say?            What would you
10:45:00    4   like me to put on 7.1, pending on appeal or concluded?
10:45:04    5   What would Oxbow like?
10:45:06    6                      MR. JACOBS:      You are not the witness.
10:45:07    7                      MR. PATTERSON:       Not that it has any
10:45:08    8   relevance whatsoever.
10:45:09    9                      MR. JACOBS:      I am not here to depose you,
10:45:11   10   Mr. Patterson.
10:45:11   11                      MR. PATTERSON:       I know.
10:45:11   12                      MR. JACOBS:      I'm here to depose the
10:45:11   13   witness.      So please --
10:45:12   14                      MR. PATTERSON:       I'm trying to cut through
10:45:13   15   this.
10:45:14   16                      MR. JACOBS:      No, you're not.       You're just
10:45:15   17   interrupting my questioning for strategic reasons.
10:45:15   18                      MR. PATTERSON:       No.
10:45:18   19                      MR. JACOBS:      Please stop.
10:45:18   20                      MR. PATTERSON:       Strategic; this whole
10:45:19   21   deposition is nothing but strategic.              You haven't asked
10:45:22   22   one legitimate question so far, of any information you
10:45:25   23   could possibly use in this bankruptcy case.                We all
10:45:28   24   know we're here for one reason, and that's to harass

10:45:32   25   PASE, to continue -- continue the state court

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10:45:35    1   litigation.      You haven't asked one legitimate
10:45:37    2   bankruptcy question.         All right?      You realize that.
10:45:41    3   And so, I understand that, the witness understands
10:45:43    4   that.     I know what you're doing, and that's fine.
10:45:45    5   Knock yourself out.         It's your seven hours.         Oxbow has
10:45:49    6   more money than God, and they can continue to pay Baker
10:45:52    7   & Botts to do that.         And more power to them.          And we're
10:45:55    8   going to do it.
10:45:56    9                      But if you're legitimately interested in
10:45:58   10   accurate information, I just gave you the opportunity
10:46:00   11   to tell me what Oxbow would like, and you refused.                     So
10:46:06   12   that tells me Oxbow could care less about right, wrong,
10:46:11   13   indifferent, accurate, inaccurate information.                 They're
10:46:16   14   just here to harass, and that's fine.               You answered my
10:46:18   15   question.      Carry on.     Knock yourself out.
10:46:18   16                      MR. JACOBS:      I don't have to --
10:46:18   17                      MR. PATTERSON:       We can do this for seven
10:46:21   18   hours.
10:46:21   19                      MR. JACOBS:      I'm not under oath and I
10:46:23   20   don't have to answer questions for you, sir.
10:46:23   21                      MR. PATTERSON:       I know you don't.
10:46:24   22                      MR. JACOBS:      And I'm not going to do it.
10:46:25   23                      MR. PATTERSON:       You wouldn't anyway.           You
10:46:27   24   wouldn't admit it, but we all know.              It's one of those

10:46:30   25   things we all know.

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10:46:31    1                      MR. JACOBS:      That's not true, sir.
10:46:32    2                      MR. PATTERSON:       We all know because you
10:46:34    3   haven't asked one legitimate question yet.                But, look,
10:46:36    4   it is your seven hours.          Oxbow is willing to pay your
10:46:40    5   exorbitant fee for seven hours.             Knock yourself out.
10:46:43    6   Let's go.      We can waste everyone's time for one day.
10:46:46    7   I'm okay with that.         So let's go.      You're not
10:46:48    8   interested in fixing this, so we'll just -- we'll play
10:46:51    9   the game just like you guys.
10:46:54   10         Q.    (By Mr. Jacobs) Isn't it true, sir, the
10:46:55   11   transfer had already been completed?
10:46:57   12         A.    If this is speaking of the transfer from
10:47:01   13   Montgomery County into Harris County?               I don't know
10:47:03   14   what the dates are, but if you're asking me to look at
10:47:06   15   this date on this, which is April 7th, relative to
10:47:09   16   April 14th, when this filing was made, then, yes.
10:47:13   17         Q.    I want to go to the next page.            Are you on the
10:47:22   18   next page?
10:47:23   19         A.    Yeah.     If I might clear something up, though.
10:47:25   20   The Montgomery County suit that was transferred to
10:47:30   21   Harris County, we had no knowledge of when that
10:47:32   22   actually landed for months.           I mean, when we found out
10:47:36   23   that it had -- that it had finally landed in a court in
10:47:39   24   Harris County, it had already been there for, like, two

10:47:44   25   months.

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10:47:46    1         Q.    When did --
10:47:47    2         A.    There's paperwork that shows that, you know,
10:47:49    3   they -- apparently they tried to -- they tried to serve
10:47:52    4   papers to Oxbow that were returned undeliverable.
10:47:54    5   They've tried to serve papers to us that were returned
10:47:57    6   undeliverable.       And we kept -- continued to check with
10:48:00    7   it, on the status of this, with Montgomery County and
10:48:02    8   with Harris County and we got nowhere.               And then we
10:48:06    9   finally found out that it got transferred on the date
10:48:08   10   that you're alluding to here, this April 7th.                 We had
10:48:11   11   no knowledge of that until very recently.
10:48:13   12         Q.    When did you find that out, sir?
10:48:15   13         A.    I don't recall the exact date when I found
10:48:18   14   out.    I just know that it was -- it was well after
10:48:19   15   this.      I mean, we had no knowledge of it until -- until
10:48:21   16   recently.
10:48:22   17         Q.    How did you find out, sir?
10:48:23   18                      MR. PATTERSON:       I'm going to object as to
10:48:25   19   relevance.
10:48:26   20                      Just give me any indication of what
10:48:28   21   connection this has to the bankruptcy, the business or
10:48:32   22   the assets or the plan.          What?    Just any connection.
10:48:35   23                      MR. JACOBS:      Your client just said that
10:48:37   24   he thought --

10:48:37   25                      MR. PATTERSON:       Any connection.

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10:48:37    1                      MR. JACOBS:      -- he had something
10:48:38    2   important to discuss, and I'm just asking him a
10:48:41    3   follow-up question so that I understand his testimony.
10:48:41    4                      MR. PATTERSON:       My objection -- he's
10:48:43    5   responding to you and I've objected.
10:48:46    6                      Give me any -- any connection.            Look, you
10:48:48    7   can't even just be honest.           Look, you don't care about
10:48:51    8   the bankruptcy; you just want to keep asking him and
10:48:54    9   just try to beat him up.          Just tell me and I'm okay
10:48:57   10   with that and we'll proceed under that.
10:48:59   11                      MR. JACOBS:      I have no desire to beat him
10:49:01   12   up.
10:49:01   13                      MR. PATTERSON:       You're taking one
10:49:02   14   sentence out of a hundred-page document that says the
10:49:05   15   transfer is pending and you want to beat it to death.
10:49:08   16                      MR. JACOBS:      No, I'm not beating --
10:49:09   17                      MR. PATTERSON:       Okay.    It wasn't but we
10:49:10   18   have no knowledge.         Real simple.      It's real simple.         We
10:49:15   19   can spend 45 minutes on this if you want.                It doesn't
10:49:17   20   matter.
10:49:17   21         A.    I'm sure you have access to the Court's
10:49:19   22   records, and you can go back and look and see when
10:49:22   23   these things were done undeliverable to Oxbow and to
10:49:25   24   us.    You're trying to make a big deal of the fact that

10:49:28   25   this happened before -- you know, that this transfer

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10:49:30    1   somehow happened and then we -- we pulled the trigger
10:49:36    2   on this bankruptcy.         But in reality, we had no
10:49:39    3   knowledge that this transfer had happened anywhere near
10:49:41    4   this date until well after we were already within this
10:49:44    5   Chapter 11 filing when we found out that this transfer
10:49:48    6   of venue had happened from Montgomery County back into
10:49:51    7   Harris County.        And the paperwork will show that
10:49:54    8   clearly, your own paperwork that you have access to.
10:49:57    9         Q.    (By Mr. Jacobs)       I just have a simple
10:49:58   10   question.      How was it that you found out?            I just want
10:50:00   11   to know how.
10:50:01   12         A.    How was it that I found out?
10:50:03   13         Q.    Yes.
10:50:03   14         A.    I found out through Mr. Lloyd's office.
10:50:03   15         Q.    Okay.
10:50:08   16         A.    Mr. Neal.      I'm sorry.
10:50:09   17         Q.    He gets mad when you do that.            He yelled at me
10:50:12   18   when I've done that before, so he may yell at you.
10:50:13   19         A.    I mean Mr. Neal's office because he had been
10:50:16   20   tracking it.
10:50:22   21         Q.    The next page, there's a reference to payments
10:50:24   22   related to bankruptcy.
10:50:26   23         A.    What page are you on.
10:50:27   24         Q.    I'm on page 30 of 37, Mr. Deyoe.

10:50:31   25         A.    I'm sorry.      What was the question?

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10:50:33    1         Q.    Sure.     There's a reference here on Part 6 to
10:50:36    2   certain payments or transfers.            Do you see that?
10:50:40    3         A.    Yes.
10:50:41    4         Q.    And there's a reference to the Norton Rose law
10:50:44    5   firm.      Do you see that?
10:50:44    6         A.    I do.
10:50:45    7         Q.    Who at Norton Rose did PASE deal with?
10:50:48    8         A.    We were dealing with Bill Greendyke; William
10:50:54    9   Greendyke and Jason Boland, I believe, is his last
10:50:57   10   name.      Those two attorneys.
10:50:58   11         Q.    What is their expertise, sir?
10:51:03   12         A.    They are bankruptcy counsel.
10:51:05   13         Q.    And there's a reference here of dates
10:51:10   14   August 24, 2020, September 25, 2020, October 14, 2020,
10:51:22   15   December 24th, 2020 and March 25, 2021.               Are those the
10:51:26   16   dates of payment to the Norton Rose law firm?
10:51:32   17         A.    I don't -- honestly, I don't know.             I don't
10:51:34   18   know.
10:51:34   19         Q.    When did PASE first consult the Norton Rose
10:51:42   20   firm?
10:51:43   21         A.    Last summer at some point.           The summer of 2020
10:51:47   22   at some point.
10:51:53   23         Q.    Go to the next page, sir.           There's a reference
10:52:19   24   here to two transfers; one is to a company called

10:52:22   25   ChemQuest Chemicals.         Do you see that?

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10:52:25    1         A.    I do.
10:52:25    2         Q.    Then the second one is to Nathan Dickman.                  Do
10:52:29    3   you see that?
10:52:29    4         A.    I do.
10:52:30    5         Q.    Mr. Dickman is, in fact, an employee of PASE,
10:52:34    6   right?
10:52:35    7         A.    He is.
10:52:36    8         Q.    And so there was a -- did PASE sell
10:52:38    9   Mr. Dickman equipment?
10:52:39   10         A.    We did.     We did.     Some small items.
10:52:45   11         Q.    There's a series of previous locations for
10:52:49   12   PASE.      Do you see that?
10:52:51   13         A.    Yes.
10:52:51   14         Q.    Okay.     If you go to the next page, there's a
10:52:55   15   reference to a Berkeley address.             Is that Mr. Belden's
10:53:01   16   address?
10:53:01   17         A.    I don't know if that's Mr. Berkeley's -- I
10:53:03   18   mean, if that's Mr. Belden's address or some office
10:53:05   19   address that they have in California for the general
10:53:08   20   partner.      I do not know.
10:53:12   21         Q.    And then there's a Magnolia address.              Is that
10:53:17   22   Mr. Boriack's?
10:53:18   23         A.    A previous address for Mr. Boriack, yes.
10:53:21   24         Q.    Okay.     Let's go to the next page, page 33 of

10:53:27   25   37.    This is a reference to two more Bank of America

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10:53:37    1   accounts that were shut down; is that right?
10:53:40    2         A.    Right.     There we see the 8417 again which is,
10:53:44    3   as we said earlier, one that we know was shut down.
10:53:47    4   That's why we were saying that the 8417 that's shown
10:53:50    5   prior to that is obviously incorrect, so...
10:53:53    6         Q.    So the 8417 here is correct?
10:53:55    7         A.    I believe so, yes.
10:53:57    8         Q.    Let's go to page 35 of 37.           There's a
10:54:22    9   reference here to McMahan & McMahan.              Do you see that?
10:54:26   10         A.    I do.
10:54:26   11         Q.    They are accountants?
10:54:27   12         A.    They are bookkeepers.
10:54:29   13         Q.    They are bookkeepers?
10:54:30   14         A.    Yes.     That would be a question for
10:54:35   15   Mr. Boriack.       He deals with them.
10:54:36   16         Q.    Okay.     And the same thing about Rebecca Nix?
10:54:40   17         A.    Rebecca Nix was an employee of ours for many
10:54:42   18   years, as our onsite bookkeeper for the company; but
10:54:46   19   she has not been employed by us since the middle of
10:54:50   20   last year at some point.
10:55:00   21         Q.    When is the -- to your knowledge, there's a
10:55:03   22   reference here to accountants.            When is the last time
10:55:06   23   that an outside accounting firm has audited PASE's
10:55:10   24   books?

10:55:11   25         A.    I have no idea.

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10:55:11    1         Q.    Should I ask Mr. Boriack that question?
10:55:14    2         A.    That would be a good question for Mr. Boriack,
10:55:17    3   yes.
10:55:26    4         Q.    Can you go to page 37 of 37?            Question No. 28
10:55:37    5   asks for the listing of the debtors, officers,
10:55:40    6   directors, managing members, general partners, members
10:55:43    7   that control, controlling shareholders or other people
10:55:45    8   in control of debtor at the time of filing of this
10:55:48    9   case.      Do you see that?
10:55:49   10         A.    I do.
10:55:50   11         Q.    And there was no one listed.            Do you see that?
10:55:58   12         A.    I do.
10:56:00   13         Q.    Who should have been listed in this answer?
10:56:02   14         A.    I don't know.       That would be a good question
10:56:05   15   for Mr. Belden.
10:56:06   16         Q.    Okay.     The company that you and Mr. Boriack
10:56:27   17   have, Integral Power.
10:56:27   18         A.    Yes.
10:56:29   19         Q.    Right?     10-percent limited partner of PASE,
10:56:33   20   correct?
10:56:34   21         A.    Correct.
10:56:35   22         Q.    It's been paid -- it's been paid $450,000 per
10:56:38   23   year --
10:56:39   24         A.    Yes.

10:56:39   25         Q.    -- from PASE, correct?

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10:56:41    1         A.    Correct.
10:56:41    2         Q.    It was paid that in 2020, correct?
10:56:43    3         A.    Yes.
10:56:44    4         Q.    And it was paid -- I think it's 37,500 a month
10:56:51    5   in January, February and March of this year.                 Agreed?
10:56:55    6         A.    Agreed.
10:57:00    7         Q.    It was paid the same thing in 2019, right?
10:57:02    8         A.    Yes.
10:57:03    9         Q.    I think that figure goes all the way back to
10:57:07   10   2013, right?
10:57:07   11         A.    Yes.    Actually, yes, yes.
10:57:10   12         Q.    On top of that, I think that you and
10:57:14   13   Mr. Boriack are also provided some amount for some
10:57:19   14   expenses on a monthly basis?
10:57:21   15         A.    Yes.
10:57:22   16         Q.    It appears to be -- rough numbers -- 900 to
10:57:26   17   $1100 a month, in general.           Would you agree with that?
10:57:29   18         A.    Yes.
10:57:32   19         Q.    What are those expenses for?
10:57:34   20         A.    Home office expenses, cell phones, reasonable,
10:57:42   21   typical, customary type office type things.                If there's
10:57:46   22   months where we have -- if there is travel, then there
10:57:49   23   could be travel in there.           Obviously there used to be a
10:57:54   24   lot more travel pre-COVID.           But those types of items

10:57:57   25   are in there.

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10:57:58    1         Q.    So your cell phone, right?
10:58:00    2         A.    Correct.
10:58:01    3         Q.    When you say "home office expenses," can you
10:58:03    4   tell me what -- that means different things to
10:58:05    5   different people.        Can you tell me what it means for
10:58:08    6   you, sir?
10:58:08    7         A.    Well, as you know, my home office is being
10:58:11    8   used as our -- as our office here in Houston right now.
10:58:16    9   So you have a certain portion of bills that are kind of
10:58:20   10   dedicated to that office space.             Utilities, things like
10:58:24   11   that.
10:58:24   12         Q.    Electric, for example?
10:58:26   13         A.    Yes.
10:58:26   14         Q.    Telephone bills?
10:58:27   15         A.    Right.     Water bills.      All of the things that
10:58:31   16   it takes to run a little home office.
10:58:33   17         Q.    Internet?
10:58:34   18         A.    Internet.
10:58:35   19         Q.    Cable?
10:58:36   20         A.    Those things, yes.
10:58:37   21         Q.    I want to just go through a few more exhibits
10:58:53   22   with you.
10:58:54   23         A.    Okay.
10:58:55   24         Q.    And then I'll take a break and check my notes,

10:58:59   25   but I don't think we have a ton left.

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10:59:04    1                      (Exhibit No. 10 marked.)
10:59:03    2         Q.    (By Mr. Jacobs)       I'm going to hand you Exhibit
10:59:04    3   No. 10.     Exhibit No. 10 is PASE107, and it says "PASE
10:59:14    4   Asset Locations."        Do you see that?
10:59:16    5         A.    Yes.
10:59:17    6         Q.    Did you prepare this document, sir?
10:59:18    7         A.    Yes.
10:59:19    8         Q.    When did you prepare it?
10:59:20    9         A.    Back when we were doing -- putting together
10:59:25   10   our items for discovery, so I -- well, actually, this
10:59:30   11   would have been an item that was part of the bankruptcy
10:59:34   12   proceeding when we had to list asset locations.                  So I
10:59:39   13   don't know.      It would have been some number of months
10:59:42   14   ago.    I couldn't tell you a date.
10:59:44   15         Q.    Would it have been sometime this year, sir?
10:59:45   16         A.    Yes.
10:59:53   17                      (Exhibit No. 12 marked.)
10:59:54   18         Q.    (By Mr. Jacobs)       I'll hand you the next
10:59:55   19   exhibit which is Exhibit 12.            Exhibit No. 12 looks very
11:00:18   20   similar to Exhibit No. 11.           Do you agree with that,
11:00:23   21   sir?
11:00:27   22         A.    Yes.
11:00:27   23         Q.    In fact, I think other than the date at the
11:00:31   24   top, they are -- and the Bates number, they are

11:00:36   25   identical.      Would you agree with that?

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11:00:39    1         A.    Yes.
11:00:39    2         Q.    There is a reference, on page 3 of 3 of
11:00:43    3   Exhibit No. 12, to a removal and demolition cost.                  Do
11:00:48    4   you see?
11:00:48    5         A.    We're back on Exhibit 3?
11:00:55    6         Q.    No, no.     Page 3 of Exhibit 12.         Stay with me.
11:01:00    7         A.    Okay.
11:01:00    8         Q.    There's a reference there to removal and
11:01:03    9   demolition costs, $740,715.           Do you see that?
11:01:12   10         A.    I do.
11:01:12   11         Q.    What does that reference, sir?
11:01:14   12         A.    There was a number that was put into our --
11:01:22   13   I'm not the accounting guy, so I don't know if it was
11:01:25   14   our balance sheet or what.           But some years ago, there
11:01:28   15   was a number put in there for an estimate of removal
11:01:31   16   and demolition cost of the plant.             And Mr. Boriack will
11:01:38   17   be able to answer this -- will be able to answer that
11:01:41   18   question as to when that happened and how it was
11:01:44   19   calculated.      But I put that number in here because it
11:01:48   20   was a holdover from those -- from those records.
11:02:00   21                      MR. JACOBS:      Can I have a five-minute
11:02:03   22   break, please?
11:02:05   23                      MR. PATTERSON:       Sure.
11:02:06   24                      (Off the record 11:02 a.m. to 11:10 a.m.)

11:10:45   25         Q.    (By Mr. Jacobs) If you'll go back to Exhibit

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11:10:50    1   No. 3, sir.
11:10:51    2         A.    Okay.
11:10:51    3         Q.    That's the one that's right -- there you go.
11:10:55    4   If you'll go to page 33 of 37.
11:10:55    5         A.    Okay.
11:11:10    6         Q.    There's a listing of off-premises storage, one
11:11:15    7   at Life Storage in Port Arthur -- and then if you turn
11:11:18    8   to the next page -- the other at Fairfield Mini Storage
11:11:23    9   in Cypress, Texas.         Do you see that?
11:11:25   10         A.    Yes.
11:11:25   11         Q.    Are there any other off storage facilities off
11:11:28   12   premises for PASE?
11:11:29   13         A.    No.
11:11:29   14         Q.    So everything ought to be in one of three
11:11:33   15   places:     Either at the two storage units or at PASE's
11:11:38   16   facility in Port Arthur, Texas?
11:11:40   17         A.    That is correct.
11:11:40   18         Q.    I've seen a reference to there being three
11:11:42   19   employees of PASE.         Is that -- Mr. Dickman is his name?
11:11:45   20         A.    Correct.
11:11:46   21         Q.    And who else?
11:11:47   22         A.    I mean, myself and Mr. Boriack, we typically
11:11:52   23   refer -- I mean, even though we're not direct
11:11:55   24   employees; but in terms of people actually performing

11:12:00   25   work on a daily basis towards the project company,

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11:12:05    1   those are the three.
11:12:07    2         Q.    And y'all are doing it on behalf of Integral
11:12:13    3   Power, correct?        You and Mr. Boriack?
11:12:15    4         A.    We work for Integral Power, yes.
11:12:16    5         Q.    Okay.     And --
11:12:18    6         A.    But we are under a management agreement
11:12:21    7   through PASE.        So, I mean, yes, our time is dedicated
11:12:24    8   to PASE.
11:12:25    9         Q.    And what's the purpose of that management
11:12:27   10   agreement?
11:12:33   11         A.    I don't understand the question.             The purpose
11:12:34   12   of the management agreement was to -- was to lay out
11:12:36   13   all of the responsibilities that Integral Power would
11:12:38   14   have with the project company to earn our management
11:12:42   15   fee.
11:12:42   16         Q.    And the project company meaning PASE, right?
11:12:48   17         A.    Correct.
11:12:48   18         Q.    And broadly speaking, what is Integral Power's
11:12:52   19   scope of responsibilities?
11:12:53   20         A.    Broadly speaking, we are in charge of
11:12:56   21   everything from the day-to-day activities at the plant,
11:13:03   22   to any technical matters at the plant.               You know, any
11:13:14   23   permits -- we don't have any permits anymore at the
11:13:17   24   plant because our wastewater permit we eliminated.                     But

11:13:22   25   the permits.       Supporting all of the legal work, that's

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11:13:25    1   been a huge part of our ongoing responsibilities the
11:13:29    2   last few years.        It's been basically almost serving to
11:13:35    3   the paralegals.        Of course, managing all of the
11:13:41    4   bookkeeping and the audits and things like that.
11:13:47    5   Dealing with property tax issues with -- with -- you
11:13:51    6   know, with the County.          Contractual issues with people
11:13:56    7   like Valero and those sorts of things.               Insurance.        I
11:14:03    8   mean, anything it takes to run the project company,
11:14:07    9   that's been our responsibility.
11:14:08   10         Q.    Just so I'm clear and the record is clear, you
11:14:10   11   and Mr. Boriack are employees of Integral Power,
11:14:13   12   correct?
11:14:13   13         A.    Well, we're the owners of Integral Power, yes.
11:14:16   14         Q.    You're the principals?
11:14:19   15         A.    Principals, yes.
11:14:25   16         Q.    Okay.     Describe for me PASE's current
11:14:33   17   operations.
11:14:34   18         A.    PASE is currently not operating.             We have not
11:14:42   19   operated since June of 2018.            So, current operations
11:14:44   20   are trying to preserve the equipment, getting things
11:14:52   21   ready for sale of assets and beginning those
11:14:56   22   discussions with various parties that might want to buy
11:15:00   23   certain assets and continuing the legal battle against
11:15:09   24   Oxbow, which is the lion's share of where value is for

11:15:13   25   us.

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11:15:19    1         Q.    If you'll go to Exhibit No. 1, sir.              You were
11:15:24    2   identified for Topic No. 13, which I'll read to you as:
11:15:30    3   "All matters concerning or related to any transactions
11:15:32    4   or transfers of any assets or property rights,
11:15:36    5   including, without limitation, moneys during the last
11:15:39    6   four years to any person or entity."
11:15:43    7                      That's on page 14 of Exhibit No. 1.
11:15:48    8         A.    Yes.
11:15:51    9         Q.    Just so I'm clear, the moneys that should be
11:15:56   10   reflected in the general ledger and the bank statements
11:16:01   11   and things of that nature, right?
11:16:04   12         A.    Right, correct.
11:16:05   13         Q.    And then with respect to assets or property
11:16:07   14   rights, what's been transferred by PASE during that
11:16:09   15   time period?
11:16:09   16         A.    The only -- the only transfers of assets that
11:16:12   17   have happened in that time period has been just these
11:16:15   18   two items that you see in the schedule here.                 The
11:16:19   19   little package of assets that were sold to ChemQuest
11:16:23   20   Chemicals and then the bundle of tools and such that
11:16:28   21   were sold to Nathan Dickman that were outlined in our
11:16:32   22   filing.     Those are the only two transfers of assets
11:16:35   23   that have occurred.
11:16:35   24         Q.    One thing you mentioned just a few moments

11:16:37   25   ago, you said about preserving equipment and getting it

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11:16:40    1   ready for sale?
11:16:41    2         A.    Yes.
11:16:41    3         Q.    What has PASE done with respect to that?
11:16:44    4         A.    Well, certainly in terms of preserving
11:16:47    5   equipment, I mean, a lot of that was done when we shut
11:16:50    6   down in terms of mothballing -- you know, mothballing
11:16:55    7   boilers, things like that, trying to preserve things as
11:16:58    8   best we could.       Keeping things clean.
11:17:03    9                      And in terms of -- when I say packaging
11:17:04   10   things for sale, it's been pulling specifications,
11:17:09   11   bundling technical packages together for the way people
11:17:14   12   might want to buy things.           Like, for instance, if we
11:17:17   13   sell the water treatment unit, we're going to sell it
11:17:20   14   as a -- as a plant, like a package, as opposed to
11:17:26   15   selling individual tanks and pumps and valves and
11:17:28   16   things like that.        We feel like it has more value to
11:17:31   17   sell as a system, and so we've been putting together
11:17:34   18   packages such as that.
11:17:38   19                      MR. JACOBS:      Thank you for your time,
11:17:40   20   Mr. Deyoe.      It is nice to see you.
11:17:42   21                      I pass.
11:17:44   22                      MR. PATTERSON:       I'll reserve my
11:17:46   23   questions.
11:17:46   24                      MR. JACOBS:      Thank you.

11:17:48   25                      (Examination concluded at 11:17 a.m.)

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 1                          CHANGES AND SIGNATURE
 2   WITNESS NAME: RAYMOND DEYOE
 3   DATE OF DEPOSITION:         JUNE 16, 2021
 4   PAGE      LINE         CHANGE                    REASON
 5   _______________________________________________________
 6   _______________________________________________________
 7   _______________________________________________________
 8   _______________________________________________________
 9   _______________________________________________________
10   _______________________________________________________
11   _______________________________________________________
12   _______________________________________________________
13   _______________________________________________________
14   _______________________________________________________
15   _______________________________________________________
16   _______________________________________________________
17   _______________________________________________________
18   _______________________________________________________
19   _______________________________________________________
20   _______________________________________________________
21   _______________________________________________________
22   _______________________________________________________
23   _______________________________________________________
24   _______________________________________________________

25   _______________________________________________________

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 1                      I, RAYMOND DEYOE, have read the foregoing
 2   deposition and hereby affix my signature that same is
 3   true and correct, except as noted above.
 4
 5                          _________________________________
                            RAYMOND DEYOE
 6
 7   THE STATE OF _________________:
 8   COUNTY OF ____________________:
 9
                   Before me, _______________________, on
10   this day personally appeared RAYMOND DEYOE, known to me
     (or proved to me under oath or through ____________)
11   (description of identity card or other document) to be
     the person whose name is subscribed to the foregoing
12   instrument and acknowledged to me that they executed
     the same for the purposes and consideration therein
13   expressed.
14
                   Given under my hand and seal of office
15   this ______ day of ________________, ______.
16
17
                        ____________________________________
18                      Notary Public in and for
                        The State of _______________________
19
     My Commission Expires ________________
20
21
22
     Job No. 01-80080
23
24

25

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 1               IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
 2                         VICTORIA DIVISION
 3                                     :
       In re:                          :   CHAPTER 11 (SUBCHAPTER V)
 4                                     :
       PORT ARTHUR STEAM               :   CASE NO. 21-60034
 5     ENERGY, LP                      :
                                       :
 6               Debtor.               :
 7                      REPORTER'S CERTIFICATION
                 RULE 2004 EXAMINATION OF RAYMOND DEYOE
 8                      TAKEN ON JUNE 16, 2021
 9       I, ANDREA L. DESORMEAUX, Certified Shorthand
     Reporter, hereby certify to the following:
10
         That the witness, RAYMOND DEYOE, was duly sworn by
11   the officer and that the transcript of the oral
     deposition is a true record of the testimony given by
12   the witness;
13       That the deposition transcript was submitted on
     ____________________, ______, to the witness or to the
14   attorney for the witness for examination, signature and
     return to me by ______________________, ______;
15
         That the amount of time used by each party at the
16   deposition is as follows:
17         Mr. Jacobs    - (01:59:38)
           Mr. Patterson - (00:00:00)
18
         That pursuant to information given to the
19   deposition officer at the time said testimony was
     taken, the following includes counsel for all parties
20   of record:
21       Mr. Kevin T. Jacobs, Mr. Michael S. Goldberg, and
         Mr. David R. Eastlake, attorneys for the Creditor
22   Oxbow Calcining, LLC.
          Mr. Johnie J. Patterson, II, attorney for the
23   Debtor Port Arthur Steam Energy, LP.
24       I further certify that I am neither counsel for,
     related to, nor employed by any of the parties or
25   attorneys in the action in which this proceeding was

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 1   taken, and further that I am not financially or
     otherwise interested in the outcome of the action.
 2
 3       Certified to by me this ____ day of ______________,
     2021.
 4
 5
 6
                        ________________________________________
 7                      ANDREA L. DESORMEAUX, TEXAS CSR NO. 4835
                        Expiration Date: July 31, 2022
 8                      CONTINENTAL COURT REPORTERS, INC.
                        Firm Registration No. 61
 9                      Expiration Date: January 31, 2023
                        Two Riverway Building
10                      2 Riverway, Suite 750
                        Houston, Texas 77056
11                      (713) 522-5080
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25

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 1                          FURTHER CERTIFICATION
 2
         The original deposition was/was not returned to the
 3   deposition officer on ____________________;
 4       If returned, the attached Changes and Signature
     page contains any changes and the reasons therefor;
 5
         If returned, the original deposition was delivered
 6   to Mr. Kevin T. Jacobs, Texas Bar No. 24012893,
     Custodial Attorney;
 7
         That $_________ is the deposition officer's charges
 8   to the Creditor's attorney for preparing the original
     deposition transcript and any copies of exhibits;
 9
         That the deposition was delivered in accordance
10   with Rule 30(f), and that a copy of this certificate
     was served on all parties shown herein on and filed
11   with the Clerk.
12       Certified to by me this _______ day of ___________,
     2021.
13
14
                        ________________________________________
15                      ANDREA L. DESORMEAUX, TEXAS CSR NO. 4835
                        Expiration Date: July 31, 2022
16                      CONTINENTAL COURT REPORTERS, INC.
                        Firm Registration No. 61
17                      Expiration Date: January 31, 2023
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18                      2 Riverway, Suite 750
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